       Case 2:22-cv-01815-IM     Document 17-1        Filed 11/30/22      Page 1 of 45



 1   ROBBONTA
     Attorn~ General of California
 2   MARK R. BECKINGTON
     Supervising Deputy Attorney General
 3   ROBERT L. MEYERHOFF
     Deputy Attorney General
 4   State Bar No. 298196
      300 South Spring Street, Suite 1702
 5    Los Angeles, CA 90013-1230
      Telephone: (213) 269-6177
 6    Fax: (916) 731-2144
      E-mail: Robert.Meyerhoff@,doj.ca.gov
 7   Attorneys for Defendant RobJ3onta in his
     official capacity as Attorney General of the
 8   Slate of California
 9                      IN THE UNITED STATES DISTRICT COURT
10                    FOR THE SOUTHERN DISTRICT OF CALIFORNIA
11                                    CIVIL DIVISION
12
13 VIRGINIA DUNCAN, RICHARD                         Case No. 17-cv-1017-BEN-JLB
   LEWIS, PATRICK LOVETTE,
14 DAVID MARGUGLIO,
   CHRISTOPHER WADDELL, and                      SUPPLEMENTAL
15 CALIFORNIA RIFLE & PISTOL                     DECLARATION OF LUCY P.
   ASSOCIATION, INC., a California               ALLEN
16 corporation,
                                                 Courtroom:    5A
17                                   Plaintiffs, Judge:        Hon. Roger T. Benitez
                                                 Action Filed: May 17, 2017
18               v.
19
   ROB BONTA, in his official ca~acity as
20 Attorney General of the State of
   California; and DOES 1-10,
21
                              Defendants.
22
23
24
25
26
27
28
                            Supplemental Declaration of Lucy P. Allen
                                    (17-cv-1017-BEN-JLB)                  ATTACHMENT I, Page I of45
                                                                                 to Marshall Declaration
                                                                        USDC Case No . 2:22-cv-01815-IM
       Case 2:22-cv-01815-IM       Document 17-1       Filed 11/30/22       Page 2 of 45



 1                SUPPLEMENTAL DECLARATION OF LUCY ALLEN
 2           I, Lucy P. Allen, declare under penalty of perjury under the laws of the
 3
     United States that the information in this declaration is true:
 4
             1.    I previously submitted a declaration in connection to the Attorney
 5
     General's Opposition to Plaintiffs' Motion for Preliminary Injunction, which was
 6
     filed with this Court on June 5, 2017 (the "2017 Declaration"), and an expert report
 7
     filed with this Court on April 9, 2018 (the "2018 Report). 1 I make this
 8
     supplemental declaration providing additional data and analysis in connection to
 9
     Defendants' Supplemental Brief in Response to the Court's Order of September 26,
10
     2022.
11
             2.    I am a Managing Director of NERA Economic Consulting (''NERA"),
12
     a member ofNERA's Securities and Finance Practice and Chair ofNERA's Product
13
14   Liability and Mass Torts Practice. NERA provides practical economic advice related

15   to highly complex business and legal issues arising from competition, regulation,
16   public policy, strategy, finance, and litigation. NERA was established in 1961 and
17
     now employs approximately 500 people in more than 20 offices worldwide.
18
             3.    In my over 25 years at NERA, I have been engaged as an economic
19
     consultant or expert witness in numerous projects involving economics and statistics.
20
21   I have been qualified as an expert and testified in court on various economic and

22   statistical issues relating to the flow of guns into the criminal market. I have testified
23   at trials in Federal and State Courts, before the New York City Council Public Safety
24
     Committee, the American Arbitration Association and the Judicial Arbitration
25
     Mediation Service, as well as in depositions.
26
27
             1 My 2018 Report was marked as Exhibit 1 to the Declaration of John
28   Echeverria and filed in this matter at Doc~et Number 53-4.
                              Supplemental Declaration of Lucy P. Allen
                                      (17-cv-1017-BEN-JLB)                  ATTACHMENT I, Page 2 of 45
                                                                                   to Marshall Declaration
                                                                          USDC Case No . 2:22-cv-01815-IM
       Case 2:22-cv-01815-IM           Document 17-1       Filed 11/30/22       Page 3 of 45



 1          4.     I have an A.B. from Stanford University, an M.B.A. from Yale
 2   University, and M.A. and M. Phil. degrees in Economics, also from Yale University.
 3
     Prior to joining NERA, I was an Economist for both President George H. W. Bush's
 4
     and President Bill Clinton's Council of Economic Advisers. My resume with recent
 5
     publications and testifying experience is included as Exhibit A.
 6
 7          5.     This declaration reports the results of my analyses with respect to the

 8   following issues: (a) the number of rounds of ammunition fired by individuals using
 9   a gun in self-defense; and (b) the outcomes when large-capacity magazines are used
10
     in public mass shootings, including the associated number of casualties.
11
                                               OPINIONS
12
     A.     Number of Rounds Fired by Individuals in Self-Defense
13
14          6.     Plaintiffs claim the "large-capacity magazines" covered by California

15   Penal Code section 32310 (which are magazines capable of holding more than ten

l6   rounds) are commonly used for lawful purposes, including for self-defense. 2
17
            7.     The number of rounds commonly needed by individuals to defend
18
     themselves cannot be practically or ethically determined with controlled scientific
19
     experiments and there is no source that systematically tracks or maintains data on the
20
21   number of rounds fired by individuals in self-defense. Due to these limitations, I have

22   analyzed available data sources to estimate the number of rounds fired by individuals
23   to defend themselves. In particular, I have analyzed data from the NRA Institute for
24
     Legislative Action, as well as my own study of news reports on incidents of self-
25
     defense with a firearm. In all, I have analyzed almost 1,000 incidents of self-defense
26
27
            2 See, for example, Complaint for Declaratory and Injunctive Relief, filed
28   May 17, 2017, i-fi-f2, 47.
                                                     2
                                  Supplemental Declaration of Lucy P. Allen
                                          (17-cv-1017-BEN-JLB)                  ATTACHMENT I, Page 3 of 45
                                                                                       to Marshall Declaration
                                                                              USDC Case No . 2:22-cv-01815-IM
       Case 2:22-cv-01815-IM       Document 17-1       Filed 11/30/22       Page 4 of 45



 1   with a firearm and found that it is rare for a person, when using a firearm in self-
 2   defense, to fire more than ten rounds.
 3
           8.     The NRA maintains a database of "Armed Citizen" stories describing
 4
     private citizens who have successfully defended themselves, or others, using a
 5
     firearm ("NRA Armed Citizen database"). According to the NRA, the "Armed
 6
 7   Citizen" stories "highlight accounts of law-abiding gun owners in America using

 8   their Second Amendment rights to defend self, home and family." 3 Although the
 9   methodology used to compile the NRA Armed Citizen database of stories is not
10
     explicitly detailed by the NRA, the NRA Armed Citizen database is a useful data
11
     source in this matter for at least three reasons. First, the Armed Citizen database was
12
     the largest collection of accounts of citizen self-defense compiled by others that I was
13
14   able to find. 4 Second, the incidents listed in the Armed Citizen database highlight the

15   very conduct that Plaintiffs claim the California law impedes (i.e., the use of firearms
16   by law-abiding citizens for self-defense). 5 Third, the Armed Citizen database is
17
     compiled by an entity that actively opposes restrictions on magazine capacity and
18
     restrictions on the possession and use of firearms in general. 6 In light of the positions
19
     taken by the entity compiling the data, I would expect that any selection bias would
20
21   be in favor of stories that put use of guns in self-defense in the best possible light and

22
           3 NRA Institute for Legislative Action, Armed Citizens,
23
     https://www.nraila.org/gun-laws/armed-citizen/, accessed May 28, 2017.
24          4 Note that in 2020, after the time my research was conducted, The Heritage

     Foundation began an online database of its own sample of defensive gun use
25
     incidents (https ://datavisualizations.heritage. org/firearms/defensive-gun-uses-in-
26   the-us ).
            5 Complaint for Injunctive and Declaratory Relief, May 17, 2017, if47.
27
            6 See, for example, NRA Civil Rights Defense Fund website,
28   http://www.nradefensefund.org/current-liy gation.aspx, accessed October 12, 2018.
                              Supplemental Declaration of Lucy P. Allen
                                      (17-cv-1017-BEN-JLB)                  ATTACHMENT I, Page 4 of 45
                                                                                   to Marshall Declaration
                                                                          USDC Case No . 2:22-cv-01815-IM
       Case 2:22-cv-01815-IM      Document 17-1       Filed 11/30/22       Page 5 of 45



 1   might highlight the apparent need of guns and/or multiple rounds in self-defense

 2   incidents.
 3
           9.     My team and I performed an analysis of incidents in the NRA Armed
 4
     Citizen database that occurred between January 2011 and May 201 7. 7 For each
 5
     incident, the city/county, state, venue (whether the incident occurred on the street, in
 6
 7   the home, or elsewhere) and the number of shots fired were tabulated. 8 The

 8   information was gathered for each incident from both the NRA synopsis and, where
 9   available, an additional news story. An additional news story was found for over 95%
10
     of the incidents in the NRA Armed Citizen database.
11
           10.    According to this analysis of incidents in the NRA Armed Citizen
12
     database, it is rare for a person, when using firearms in self-defense, to fire more than
13
14   ten rounds. Out of736 incidents, there were two incidents (0.3% of all incidents), in

15   which the defender was reported to have fired more than 10 bullets. 9 Defenders fired
16   2.2 shots on average. 10 In 18.2% of incidents, the defender did not fire any shots.
17
18         7 My collection and coding of the NRA Armed Citizen stories was last

     performed in mid-2017.
19          8 The following incidents were excluded from the analysis: (1) duplicate

20   incidents, (2) wild animal attacks, and (3) one incident where the supposed victim
     later pleaded guilty to covering up a murder. When the exact number of shots fired
21
     was not specified, we used the average for the most relevant incidents with known
22   number of shots. For example, if the story stated that "shots were fired" this would
     indicate that at least two shots were fired and thus we used the average number of
23
     shots fired in all incidents in which two or more shots were fired and the number of
24   shots was specified.
            9 Note that the only two incidents with more than 10 bullets fired were added
25
     to the NRA Armed Citizen database in 2016 and 2017 after an earlier analysis that I
26   had conducted of the database had been submitted to and cited by the Court in
     Kolbe v. O'Malley, Case No. CCB-13-2841 (Dkt. 79).
27
           10 Note that the analysis is focused on shots fired when using a gun in self-
28                                              4                                      (continued ... )
                             Supplemental Declaration of Lucy P. Allen
                                     (17-cv-1017-BEN-JLB)                  ATTACHMENT I , Page 5 of 45
                                                                                  to Marshall Declaration
                                                                         USDC Case No . 2:22-cv-01815-IM
       Case 2:22-cv-01815-IM      Document 17-1       Filed 11/30/22       Page 6 of 45



 1   These incidents highlight the fact that in many instances defenders are able to defend
 2   themselves without firing any shots. For example, according to one of the incidents
 3
     in the NRA Armed Citizen Database:
 4
           "A man entered a Shell station in New Orleans, La. and attempted to rob a
 5
           cashier, by claiming he was carrying a gun. The cashier responded by
 6
 7         retrieving a gun and leveling it at the thief, prompting the criminal to flee. (The

 8         Times Picayune, New Orleans, La. 09/02/15)" 11
 9         11.    For incidents occurring in the home ( 56% of total), defenders fired an
10
     average of2.1 shots, and fired no shots in 16.1 % of incidents. For incidents occurring
11
     outside the home (44%) of total, defenders fired an average of2.2 shots, and fired no
12
     shots in 20.9% of incidents. 12 The table below summarizes these findings:
13
14
15
16
17
18
19
20
     defense and therefore the average includes instances when no shots are fired. If one
21
     calculates the average excluding incidents of self-defense with a gun without firing
22   shots, the average is still low, 2.6 shots when at least one shot is fired.
            11 "Gas station clerk scares off robber," NRA-ILA Armed Citizen, September
23
     9, 2015 .
24          12 A separate study of incidents in the NRA Armed Citizen database for an

     earlier period (the five-year period from 1997 through 2001) found similar results.
25
     Specifically, this study found that, on average, 2.2 shots were fired by defenders
26   and that in 28% of incidents of armed citizens defending themselves the individuals
27   fired no shots at all. See, Claude Werner, "The Armed Citizen - A Five Year
     Analysis," http://gunssaveslives.net/self-defense/analysis-of-five-years-of-armed-
28   encounters-with-data-tables, accessed Jans1ary 10, 2014.
                             Supplemental Declaration of Lucy P. Allen
                                     (17-cv-1017-BEN-JLB)                  ATTACHMENT I , Page 6 of 45
                                                                                  to Marshall Declaration
                                                                         USDC Case No . 2:22-cv-01815-IM
       Case 2:22-cv-01815-IM             Document 17-1            Filed 11/30/22        Page 7 of 45



 1
                             Number of Shots Fired in Self-Defense
 2                 Based on NRA Armed Citizen Incidents in the United States
                                 January 2011 - May 2017
 3
                                                              Shots Fired by Individual in Self-Defense
 4
                                                        Overall     Incidents in Home       Outside the Home
 5
 6         Average Shots Fired                             2.2               2.1                      2.2

 7         Number of Incidents with No Shots Fired        134                 66                       68
           Percent oflncidents with No Shots Fired      18.2%             16.1%                    20.9%
 8
           Number oflncidents with > 10 Shots Fired         2                 2                        0
 9
           Percent of Incidents with > 10 Shots Fired    0.3%              0.5%                     0.0%
10
         Notes and Sources:
11         Data from NRA Armed Citizen database covering 736 incidents (of which 411 were in the home)
           from January 2011 through May 2017. Excludes duplicate incidents, wild animal attacks, and one
12         incident where the supposed victim later pleaded guilty to covering up a murder.

13
            12.     We also performed the same analysis of the NRA Armed Citizen
14
     database limited to incidents that occurred in California. According to this analysis,
15
16   defenders in California fired 2.0 shots on average. Out of 47 incidents, there were no

17   incidents in which the defender was reported to have fired more than 10 bullets. In
18   27.7% of incidents, the defender did not fire any shots, and simply threatened the
19   offender with a gun. For incidents occurring in the home (60% of total), defenders
20
     fired an average of 1.9 shots, and fired no shots in 32.1 % of incidents. For incidents
21
     occurring outside the home (40% of total), defenders fired an average of 2.2 shots
22
23   and fired no shots in 21.1 % of incidents. The table below summarizes these findings

24   for California:
25
26
27
28
                                                          6
                                   Supplemental Declaration of Lucy P. Allen
                                           (17-cv-1017-BEN-JLB)                        ATTACHMENT I , Page 7 of 45
                                                                                              to Marshall Declaration
                                                                                     USDC Case No . 2:22-cv-01815-IM
       Case 2:22-cv-01815-IM             Document 17-1              Filed 11/30/22         Page 8 of 45



 1
                              Number of Shots Fired in Self-Defense
 2                     Based on NRA Armed Citizen Incidents in California
                                  January 2011 - May 2017
 3
                                                              Shots Fired by Individual in Self-Defense
 4
                                                       Overall         Incidents in Home      Outside the Home
 5
          Average Shots Fired                                 2.0                1.9                      2.2
 6
          Number oflncidents with No Shots Fired              13                 9                         4
 7
          Percent oflncidents with No Shots Fired         27.7%              32.1%                  21.05%
 8
          Number of Incidents with >10 Shots Fired            0                   0                      0
 9        Percent of Incidents with > 10 Shots Fired       0.0%                0.0%                   0.0%

10      Notes and Sources:
          Data from NRA Armed Citizen database covering 47 incidents In California (of which 28 were in the
11        home) from January 2011 through May 2017. Excludes repeat stories, wild animal attacks and one
          incident where the supposed victim later pleaded guilty to covering up a murder.
12
13
14         13.      In addition to our analysis of incidents in the NRA Armed Citizen
15   database, we performed a systematic, scientific study of news reports on incidents of
16
     self-defense with a firearm in the home, focusing on the same types of incidents as
17
     the NRA stories and covering the same time period. 13
18
19         14.      To identify relevant news stories to include m our analysis, we
20
     performed a comprehensive search of published news stories using Factiva, an online
21
     news reporting service and archive owned by Dow Jones, Inc. that aggregates news
22
     content from nearly 33,000 sources. 14 The search was designed to return stories about
23
24         13 This analysis was initially conducted to research issues regarding self-

     defense in the home, which was a focus before the 2022 New York State Rifle &
25
     Pistol Association v. Bruen Supreme Court decision. The analysis of the NRA
26   Armed Citizen incidents described above indicates that the number of shots fired in
     self-defense outside the home is similar to those inside the home.
27
           14 Factiva is often used for academic research. For example, a search for the
28                                                        7                                          (continued ... )
                                   Supplemental Declaration of Lucy P. Allen
                                           (17-cv-1017-BEN-JLB)                          ATTACHMENT I, Page 8 of 45
                                                                                                to Marshall Declaration
                                                                                       USDC Case No . 2:22-cv-01815-IM
       Case 2:22-cv-01815-IM      Document 17-1       Filed 11/30/22       Page 9 of 45



 1   the types of incidents that are the focus of the NRA Armed Citizen database and that
 2   Plaintiffs claim the California law impedes - in particular, the use of firearms for
 3
     self-defense. 15 The search identified all stories that contained the following keywords
 4
     in the headline or lead paragraph: one or more words from "gun," "shot," "shoot,"
 5
     "fire," or "arm" (including variations on these keywords, such as "shooting" or
 6
 7   "armed") plus one or more words from "broke in" "break in" "broken into"
              '                                               '                  '                          '
 8   "breaking into," "burglar," "intruder," or "invader" (including variations on these
 9   keywords) and one or more words from "home," "apartment," or "property"
10
     (including variations on these keywords ). 16 The search criteria match approximately
11
     90% of the NRA stories on self-defense with a firearm in the home, and an analysis
12
     of the 10% of stories that are not returned by the search shows that the typical number
13
14   of shots fired in these incidents was no different than in other incidents. 17 The search

15   covered the same period used in our analysis of incidents in the NRA Armed Citizen
16
17
     term "Factiva" on Google Scholar yields over 28,000 results. As another example, a
18   search on W estlaw yields at least 83 expert reports that conducted news searches
     using Factiva.
19          15 NRA Institute for Legislative Action, Armed Citizens,

20   https://www.nraila.org/gun-laws/armed-citizenL, accessed May 28, 2017. See, also,
     Complaint for Declaratory and Injunctive Relief, filed May 17, 2017, ,r47.
21          16 The precise search string used was: (gun* or shot* or shoot* or fire* or

22   arm*) and ("broke in" or "break in" or "broken into" or "breaking into" or burglar*
     or intrud* or inva*) and (home* or "apartment" or "property"). An asterisk denotes
23
     a wildcard, meaning the search includes words which have any letters in place of
24   the asterisk. For example, a search for shoot* would return results including
     "shoots," "shooter" and "shooting." The search excluded duplicate stories classified
25
     as "similar" on Factiva.
26          17 The analysis and search would have used criteria to match actual incidents

     involving Plaintiffs or California residents, but, based on the Complaint for
27
     Injunctive and Declaratory Relief, Plaintiffs have not identified any incidents of the
28   type they claim the California law will iIIlfede.
                             Supplemental Declaration of Lucy P. Allen
                                     (17-cv-1017-BEN-JLB)                  ATTACHMENT I , Page 9 of 45
                                                                                  to Marshall Declaration
                                                                         USDC Case No . 2:22-cv-01815-IM
      Case 2:22-cv-01815-IM       Document 17-1      Filed 11/30/22       Page 10 of 45



 1   database (January 2011 to May 2017). The region for the Factiva search was set to
 2   "United States." The search returned approximately 35,000 stories for the period
 3
     January 2011 to May 2017. 18
 4
            15.   Using a random number generator, a random sample of200 stories was
 5
     selected for each calendar year, yielding 1,400 stories in total. 19 These 1,400 stories
 6
 7   were reviewed to identify those stories that were relevant to the analysis, i.e.,

 8   incidents of self-defense with a firearm in or near the home. This methodology
 9   yielded a random selection of 200 news stories describing incidents of self-defense
10
     with a firearm in the home out of a population of approximately 4,800 relevant
11
     stories. 20 Thus, we found that out of the over 70 million news stories aggregated by
12
     Factiva between January 2011 and May 2017, approximately 4,800 news stories were
13
14   on incidents of self-defense with a firearm in the home. We analyzed a random

15   selection of 200 of these stories.
16
17         18 The effect of using alternative keywords was considered. For example,

18   removing the second category ("broke in" or "break in" or "broken into" or
     "breaking into" or burglar* or intrud* or inva*) and including incidents in which
19
     the assailant was already inside the home and/or was known to the victim was
20   considered. A priori, there was no reason to believe that a larger number of shots
     would be used in these incidents and based on an analysis of the NRA stories we
21
     found that the number of shots fired in incidents when defending against someone
22   already in the home was not different than those with an intruder.
            19 The random numbers were generated by sampling with replacement.
23          20 The approximately 4,800 relevant news stories were estimated by

24   calculating the proportion of relevant news stories from the 200 randomly selected
     stories each year and applying that proportion to the number of results returned by
25
     the search for each year of the analysis. For example, in 2017, 33 out of200 (17%)
26   randomly selected news stories involved incidents of self-defense with a firearm in
27   the home. Applying that proportion to the 1,595 results from the Factiva search in
     201 7 yields 263 relevant news stories in 201 7. This process was repeated every
28   year to arrive at a total of 4,841 relevant 1gews stories from 2011-2017.
                             Supplemental Declaration of Lucy P. Allen
                                     (17-cv-1017-BEN-JLB)                 ATTACHMENT I, Page 10 of 45
                                                                                  to Marshall Declaration
                                                                         USDC Case No . 2:22-cv-01815-IM
      Case 2:22-cv-01815-IM      Document 17-1       Filed 11/30/22       Page 11 of 45



 1         16.    For each news story, the city/county, state and number of shots fired
 2   were tabulated. When tabulating the number of shots fired, we used the same
 3
     methodology as we used to analyze stories in the NRA Armed Citizen database. 21
 4
     We then identified other stories describing the same incident on Factiva based on the
 5
     date, location and other identifying information, and recorded the number of times
 6
 7   that each incident was covered by Factiva news stories.

 8         17.    To determine the average number of shots fired per incident, we first
 9   determined the average number of shots fired per story and then analyzed the number
10
     of stories per incident. According to our study of a random selection from
11
     approximately 4,800 relevant stories on Factiva describing incidents of self-defense
12
     with a firearm in the home, the average number of shots fired per story was 2.61.
13
14   This is not a measure of the average shots fired per incident, however, because the

15   number of stories covering an incident varies, and the variation is not independent of
16   the number of shots fired. We found that there was a statistically significant
17
     relationship between the number of shots fired in an incident and the number of news
18
     stories covering an incident. 22 We found that on average the more shots fired in a
19
20         21 When the exact number of shots fired was not specified, we used the

     average for the most relevant incidents with known number of shots. For example,
21
     if the story stated that "shots were fired" this would indicate that at least two shots
22   were fired and thus we used the average number of shots fired in all incidents in
     which two or more shots were fired and the number of shots was specified.
23           22 Based on a linear regression of the number of news stories as a function of
24   the number of shots fired, the results were statistically significant at the 1% level
     (more stringent than the 5% level commonly used by academics and accepted by
25
     courts. See, for example, Freedman, David A., and David H. Kaye, "Reference
26   Guide on Statistics," Reference Manual on Scientific Evidence (Washington, D.C.:
27   The National Academies Press, 3rd ed., 2011), pp. 211-302, and Fisher, Franklin
     M., "Multiple Regression in Legal Proceedings," 80 Columbia Law Review 702
28   (1980).)
                             Supplemental Declaration of Lucy P. Allen
                                     (17-cv-1017-BEN-JLB)                 ATTACHMENT I, Page 11 of45
                                                                                  to Marshall Declaration
                                                                         USDC Case No . 2:22-cv-01815-IM
      Case 2:22-cv-01815-IM                Document 17-1               Filed 11/30/22            Page 12 of 45



 1   defensive gun use incident, the greater the number of stories covering an incident.
 2   For example, as shown in the table below, we found that incidents in Factiva news
 3
     stories with zero shots fired were covered on average by 1.8 news stories, while
 4
     incidents with six or more shots fired were covered on average by 10 .4 different news
 5
     stories.
 6
 7
                 Average Number of News Stories by Number of Shots Fired
 8              In Factiva Stories on Incidents of Self-Defense with a Firearm
 9                                 January 2011 - May 2017
10                                 Number of Shots Fired                Average Number
11                                    By Defender                        of News Stories

12                                                   0                               1.8

13                                              1 to 2                               2.8

14                                              3 to 5                               3.8

                                           6 or more                                10.4
15
16                Notes and Sources:
                    Based on news stories describing defensive gun use in a random selection ofFactiva stories between
17                  2011 and May 2017 using the search string: (gun* or shot* or shoot* or fire* or arm*) and ("broke
                    in" or "break in" or "broken into" or "breaking into" or burglar* or intrud* or inva*) and (home* or
18                  "apartment" or "property"), with region set to "United States" and excluding duplicate stories classified
                    as "similar" on Factiva. Methodology for tabulation of shots fired as per footnote 16.
19
20          18.     After adjusting for this disparity in news coverage, we find that the

21   average number of shots fired per incident covered is 2.34. 23 Note that this
22
            23 The adjustment reflects the probability that a news story on a particular
23
     incident would be selected at random from the total population of news stories on
24   incidents of self-defense with a firearm in the home. The formula used for the
25   adjustment is:

26          If=i (Shots Fire di   x~)
                   Lni=l (Ri)
27                        Ci

     where:
28                                                                                                            (continued ... )
                                                      11
                                    Supplemental Declaration of Lucy P. Allen
                                            (17-cv-1017-BEN-JLB)                                 ATTACHMENT I, Page 12 of 45
                                                                                                         to Marshall Declaration
                                                                                                USDC Case No . 2:22-cv-01815-IM
      Case 2:22-cv-01815-IM      Document 17-1       Filed 11/30/22       Page 13 of 45



 1   adjustment does not take into account the fact that some defensive gun use incidents
 2   may not be picked up by any news story. Given the observed relationship that there
 3
     are more news stories when there are more shots fired, one would expect that the
 4
     incidents that are not written about would on average have fewer shots than those
 5
     with news stories. Therefore, the expectation is that these results, even after the
 6
 7   adjustment, are biased upward (i.e., estimating too high an average number of shots

 8   and underestimating the percent of incidents in which no shots were fired).
 9         19.    As shown in the table below, according to the study of Factiva news
10
     stories, in 11.6% of incidents the defender did not fire any shots, and simply
11
     threatened the offender with a gun. In 97.3% of incidents the defender fired 5 or
12
     fewer shots. There were no incidents where the defender was reported to have fired
13
14   more than 10 bullets.

15
16
17
18
19
20
21
22
23
24
25
26   n = random selection of news stories on incidents of self-defense with a firearm in
     the home
27
     Ri = number of search results on Factiva in the calendar year of incident i
28   Ci = number of news stories covering inci1ent i
                             Supplemental Declaration of Lucy P. Allen
                                     (17-cv-1017-BEN-JLB)                 ATTACHMENT I, Page 13 of45
                                                                                  to Marshall Declaration
                                                                         USDC Case No . 2:22-cv-01815-IM
      Case 2:22-cv-01815-IM           Document 17-1               Filed 11/30/22             Page 14 of 45



 1
                   Number of Shots Fired in Self-Defense in the Home
 2                Based on Random Selection of News Stories in Factiva
 3                             January 2011- May 2017
 4                        Estimated population of news reports in Factiva               4,841
                          on self-defense with a firearm in the home
 5
 6                        Random selection of news reports                                 200

 7                        Average Number of Shots Fired                                    2.34
                          Median Number of Shots Fired                                     2.03
 8

 9                        Number oflncidents with No Shots Fired                             23
                          Percent of Incidents with No Shots Fired                       11.6%
10
                          Number oflncidents with :'S5 Shots Fired                         195
11                        Percent oflncidents with :'S5 Shots Fired                      97.3%
12
                          Number of Incidents with > 10 Shots Fired                           0
13                        Percent oflncidents with > 10 Shots Fired                       0.0%

14                   Notes and Sources:
                       Based on news stories describing defensive gun use in a random selection ofFactiva
15                     stories between 2011 and May 2017 using the search string: (gun* or shot* or shoot*
                       or fire* or arm*) and ("broke in" or "break in" or "broken into" or "breaking into" or
16                     burglar* or intrud* or inva*) and (home* or "apartment" or "property"), with region
                       set to "United States" and excluding duplicate stories classified as "similar" on Factiva
17                     Methodology for tabulation of shots fired as per footnote 16. Number of incidents
                       probability-weighted as per footnote 18.
18
19
20         20.    In sum, an analysis of incidents in the NRA Armed Citizen database, as
21   well as our own study of a random sample from approximately 4,800 news stories
22   describing incidents of self-defense with a firearm, indicates that it is rare for a
23
     person, when using a firearm in self-defense, to fire more than ten rounds.
24
25
26
27
28
                                                 13
                               Supplemental Declaration of Lucy P. Allen
                                       (17-cv-1017-BEN-JLB)                                 ATTACHMENT I, Page 14 of 45
                                                                                                    to Marshall Declaration
                                                                                           USDC Case No . 2:22-cv-01815-IM
      Case 2:22-cv-01815-IM      Document 17-1       Filed 11/30/22       Page 15 of 45



 1   B.    Public Mass Shootings
 2         21.    We analyzed the use of large-capacity magazmes m public mass
 3
     shootings using four sources for identifying public mass shootings: Mother Jones, 24
 4
     the Citizens Crime Commission ofNew York City, 25 the Washington Post26 and the
 5
     Violence Project. 27 , 28 The analysis focused on public mass shootings because it is my
 6
 7   understanding that the state of California is concerned about public mass shootings

 8   and enacted the challenged law, in part, to address the problem of public mass
 9   shootings.
10
11         24 "US Mass Shootings, 1982-2022: Data From Mother Jones' Investigation,"

12   Mother Jones, updated October 14, 2022,
     http://www.motherjones.com/politics/2012/12/mass-shootings-mother-jones-full-
13
     data.
14          25 "Mayhem Multiplied: Mass Shooters and Assault Weapons," Citizens

     Crime Commission ofNew York City, February 2018 update. Additional details on
15
     the mass shootings were obtained from an earlier source by the Citizens Crime
16   Commission. "Mass Shooting Incidents in America (1984-2012)," Citizens
     Crime Commission ofNew York City, http://www.nycrimecommission.org/mass-
17
     shooting-incidents-america.php, accessed June 1, 2017.
18          26 "The terrible numbers that grow with each mass shooting," The

     Washington Post, updated May 12, 2021.
19          27 "Mass Shooter Database," The Violence Project, https://www.theviolencep

20   roject.org/mass-shooter-database/, updated May 14, 2022.
            28 When I began research in 2013 on mass shootings, I found Mother Jones
21
     and Citizens Crime Commission to maintain the most comprehensive lists of
22   relevant mass shootings. More recently, two additional sources, the Washington
     Post and The Violence Project, have compiled lists of public mass shootings. The
23
     Violence Project began work on its mass shootings database in September 2017 and
24   its database first went online in November 2019, while the Washington Post first
     published its mass shootings database in February 14, 2018. There is substantial
25
     overlap between the mass shootings in all four sources. For example, the Mother
26   Jones data contains 93% of the mass shootings in the Citizens Crime Commission
27   data for the years covered by both data sources, 1984 to 2016, while the
     Washington Post contains 94% of the mass shootings in The Violence Project data
28   for the years covered by both data sourcer4 1966 to 2019.
                             Supplemental Declaration of Lucy P. Allen
                                     (17-cv-1017-BEN-JLB)                 ATTACHMENT I, Page 15 of45
                                                                                  to Marshall Declaration
                                                                         USDC Case No . 2:22-cv-01815-IM
      Case 2:22-cv-01815-IM       Document 17-1      Filed 11/30/22       Page 16 of 45



 1         22.    The type of incident considered a mass shooting is generally consistent
 2   across the four sources. In particular, all four sources consider an event a mass
 3
     shooting if four or more people were killed in a public place in one incident, and
 4
     exclude incidents involving other criminal activity such as a robbery. 29
 5
 6         29 Citizen Crime Commission describes a mass shooting as "four or more

 7   victims killed" in "a public place" that were "unrelated to another crime (e.g.,
     robbery, domestic violence)." Citizen Crime notes that its sources include "news
 8   reports and lists created by government entities and advocacy groups." "Mayhem
 9   Multiplied: Mass Shooters and Assault Weapons," Citizens Crime Commission of
     New York City, February 2018 update.
10          Mother Jones describes a mass shooting as "indiscriminate rampages in
11   public places resulting in four or more victims killed by the attacker," excluding
     "shootings stemming from more conventionally motivated crimes such as armed
12   robbery or gang violence." Although in January 2013 Mother Jones changed its
13   definition of mass shooting to include instances when three or more people were
     killed, for this declaration we only analyzed mass shootings where four or more
14   were killed to be consistent with the definition of the other three sources. "A Guide
15   to Mass Shootings in America," Mother Jones, updated October 14, 2022,
     http://www.motherjones.com/politics/2012/07/mass-shootings-map. See also,
16   "What Exactly is a Mass Shooting," Mother Jones, August 24, 2012.
17   http://www.motherjones.com/mojo/2012/08/what-is-a-mass-shooting.
            The Washington Post source describes a mass shooting as "four or more
18   people were killed, usually by a lone shooter" excluding "shootings tied to
19   robberies that went awry" and "domestic shootings that took place exclusively in
     private homes." A The Washington Post notes that its sources include "Grant
20   Duwe, author of 'Mass Murder in the United States: A History,' Mother Jones and
21   Washington Post research," as well as "Violence Policy Center, Gun Violence
     Archive; FBI 2014 Study of Active Shooter Incidents; published reports." "The
22   terrible numbers that grow with each mass shooting,"
23   The Washington Post, updated May 12,
     2021, https://www.washingtonpost.com/ graphics/2018/national/mass-shootings-in-
24   america/.
25          The Violence Project indicates that it uses the Congressional Research
     Service definition of a mass shooting: "a multiple homicide incident in which four
26   or more victims are murdered with firearms-not including the offender(s)-within
27   one event, and at least some of the murders occurred in a public location or
     locations in close geographical proximity ( e.g., a workplace, school, restaurant, or
28                                              15                            (continued ... )
                             Supplemental Declaration of Lucy P. Allen
                                     (17-cv-1017-BEN-JLB)                 ATTACHMENT I, Page 16 of 45
                                                                                  to Marshall Declaration
                                                                         USDC Case No . 2:22-cv-01815-IM
      Case 2:22-cv-01815-IM       Document 17-1      Filed 11/30/22       Page 17 of 45



 1         23 .   Each of the four sources contains data on mass shootings covering
 2   different time periods. The Mother Jones data covers 112 mass shootings from 1982
 3
     to October 13, 2022, 30 the Citizens Crime Commission data covers 80 mass shootings
 4
     from 1984 to February 2018, 31 the Washington Post data covers 185 mass shootings
 5
     from 1966 to May 12, 2021, 32 and The Violence Project data covers 182 mass
 6
 7   shootings from 1966 to May 14, 2022. 33 , 34

 8   other public settings), and the murders are not attributable to any other underlying
 9   criminal activity or commonplace circumstance (armed robbery, criminal
     competition, insurance fraud, argument, or romantic triangle)." The Violence
10   Project notes that its sources include "Primary Sources: Written journals/
11   manifestos/ suicide notes etc., Social media and blog posts, Audio and video
     recordings, Interview transcripts, Personal correspondence with perpetrators" as
12   well as "Secondary Sources (all publicly available): Media (television, newspapers,
13   magazines), Documentary films, Biographies, Monographs, Peer-reviewed journal
     articles, Court transcripts, Law Enforcement records, Medical records, School
14   records, Autopsy reports." "Mass Shooter
15   Database," The Violence Project, https://www.theviolenceproject.org/methodology/
     ~ accessed January 17, 2020.
16          30 "A Guide to Mass Shootings in America," Mother Jones, updated October

17   14, 2022, http://www.motherjones.com/politics/2012/07/mass-shootings-map.
     Excludes mass shootings where only three people were killed. Note this analysis of
18   the Mother Jones data may not match other analyses because Mother Jones
19   periodically updates its historical data.
            31 'Mayhem Multiplied: Mass Shooters and Assault Weapons," Citizens
20   Crime Commission ofNew York City, February 2018 update.
            32 "The terrible numbers that grow with each mass shooting," The
21
     Washington Post, updated May 12,
22   2021, https://www.washingtonpost.com/ graphics/2018/national/mass-shootings-in-
23   america/.
            33 "Mass Shooter Database," The Violence Project https://www.theviolencepr
24   oject.org/mass-shooter-database/, updated May 14, 2022.
            34 Note that I have updated this mass shooting analysis to include more recent
25
     incidents, as well as more recently available details. In my 201 7 declaration in
26   Virginia Duncan et al. v. California Attorney General, I included data on mass
27   shootings through April 2017. In my 2018 declaration in Rupp v. California
     Attorney General, I updated the analysis to include data on mass shootings through
28                                              16                            (continued ... )
                             Supplemental Declaration of Lucy P. Allen
                                     (17-cv-1017-BEN-JLB)                 ATTACHMENT I, Page 17 of45
                                                                                  to Marshall Declaration
                                                                         USDC Case No . 2:22-cv-01815-IM
      Case 2:22-cv-01815-IM      Document 17-1       Filed 11/30/22       Page 18 of 45



 1         24.    Note that the two more recently compiled sources of mass shootings, the
 2   Washington Post and The Violence Project, include additional mass shootings that
 3
     were not covered by either Mother Jones or Citizens Crime Commission. In general,
 4
     we found that these additional mass shootings were less covered by the media and
 5
     involved fewer fatalities and/or injuries than the ones previously identified by Mother
 6
 7   Jones or Citizens Crime Commission. For example, using the mass shooting data for

 8   the period 1982 through 2019, we found that the median number of news stories for
 9   a mass shooting included in Mother Jones and/or Citizen Crime Commission was
10
     317, while the median for the additional mass shootings identified in the Washington
11
     Post and/or The Violence Project was 28. 35 In addition, we found an average of 21
12
     fatalities or injuries for a mass shooting included in Mother Jones and/or Citizen
13
14   Crime Commission, while only 6 fatalities or injuries for the additional mass

15   shootings identified in the Washington Post and/or The Violence Project.
16
17   September 2018. The analyses in both of these declarations included mass
18   shootings only from Mother Jones and the Citizen Crime Commission. In my 2020
     declaration in James Miller et al. v. California Attorney General, I updated the
19   analysis to include mass shootings through December 2019 and added mass
20   shootings from two more sources, the Washington Post and the Violence Project.
     The number of mass shootings, as well as some details about the shootings, are not
21   identical across these declarations for three main reasons. First, I have updated the
22   analysis to include more recent incidents as well as more recently available details.
     Second, starting in 2020, I added two more sources (Washington Post and Violence
23   Project), which include additional mass shootings and details not included in the
24   initial sources. Third, even though Mother Jones included instances when three or
     more people were killed, for my declarations and reports starting in 2020, I only
25   included mass shootings where four or more were killed to be consistent with the
26   definition of the other three sources.
             35 The search was conducted over all published news stories on Factiva. The
27   search was based on the shooter's name and the location of the incident over the
28   period from one week prior to three months following each mass shooting.
                                               17
                             Supplemental Declaration of Lucy P. Allen
                                     (17-cv-1017-BEN-JLB)                 ATTACHMENT I, Page 18 of45
                                                                                  to Marshall Declaration
                                                                         USDC Case No . 2:22-cv-01815-IM
      Case 2:22-cv-01815-IM     Document 17-1       Filed 11/30/22       Page 19 of 45



 1         25 .   We combined the data from the four sources for the period 1982 through
 2   2019, and searched news stories on each mass shooting to obtain additional details
 3
     on the types of weapons used as well as data on shots fired where available. We
 4
     identified, based on this publicly available information, which mass shootings
 5
     involved the use of large-capacity magazines. See attached Exhibit B for a summary
 6
 7   of the combined data based on Mother Jones, Citizens Crime Commission, the

 8   Washington Post, the Violence Project, and news reports.
 9         1.     Use of large-capacity magazines in public mass shootings
10
           26.    Based on the data through 2019, we found that large-capacity magazines
11
     (those with a capacity to hold more than 10 rounds of ammunition) are often used in
12
     public mass shootings. Magazine capacity is known in 105 out of the 161 mass
13
14   shootings ( or 65%) considered in this analysis. Out of the 105 mass shootings with

15   known magazine capacity, 63 (or 60%) involved large-capacity magazines. Even
16   assuming the mass shootings with unknown magazine capacity all did not involve
17
     large-capacity magazines, 63 out of 161 mass shootings or 39% of mass shootings
18
     involved large capacity magazines. (See table below.)
19
           27.    Based on our analysis of the public mass shootings data through 2019,
20
21   casualties were higher in the mass shootings that involved weapons with large-

22   capacity magazines than in other mass shootings. In particular, we found an average
23   number of fatalities or injuries of 27 per mass shooting with a large-capacity
24
     magazine versus 9 for those without. Focusing on just fatalities, we found an average
25
     number of fatalities of 10 per mass shooting with a large-capacity magazine versus 6
26
     for those without. (See table below.)
27
28
                                              18
                            Supplemental Declaration of Lucy P. Allen
                                    (17-cv-1017-BEN-JLB)                 ATTACHMENT I, Page 19 of45
                                                                                 to Marshall Declaration
                                                                        USDC Case No . 2:22-cv-01815-IM
      Case 2:22-cv-01815-IM            Document 17-1            Filed 11/30/22         Page 20 of 45



 1
                 Numbers of Fatalities and Injuries in Public Mass Shootings
 2                            January 1982 - December 2019
 3
                                            #of                          Average# of
 4                  Weapon Used           Incidents        Fatalities     Injuries           Total

 5
                    LCM                       63               10             17               27
 6                  Non-LCM                   42                6              3                9
                    Unknown                   56               5               3                7
 7
                  Notes and Sources:
 8
                    Casualty figures exclude the shooter. LCM classification and casualties based on
 9                  review of stories from Factiva/Google searches.

10
           28.     In addition to the analysis using data through 2019 discussed above, we
11
     analyzed more recent mass shootings, including from January 2020 through October
12
     2022. 36 Based on our analysis of this more recent data, we found similar results. In
13
14   particular, we found casualties were higher in the mass shootings that involved

15   weapons with large-capacity magazines than in other mass shootings. The table
16   below summarizes these results using data for the period 1982 through October 2022.
17
18
19
20
21
22
23
24
25
26
27
           36 Note, however, that the Citizens Crime Commission data was last updated
28                                                         9
     in February 2018 and the Washington Po~ was last updated in May 2021.
                                  Supplemental Declaration of Lucy P. Allen
                                          (17-cv-1017-BEN-JLB)                         ATTACHMENT I, Page 20 of 45
                                                                                               to Marshall Declaration
                                                                                      USDC Case No . 2:22-cv-01815-IM
      Case 2:22-cv-01815-IM            Document 17-1            Filed 11/30/22         Page 21 of 45



 1
                 Numbers of Fatalities and Injuries in Public Mass Shootings
 2                             January 1982 - October 2022
 3
                                           # of                         Average# of
 4                 Weapon Used           Incidents        Fatalities      Injuries            Total

 5
                   LCM                       73               IO              16               25
 6                 Non-LCM                   42                6               3                 9
                   Unknown                   64                5               3                 7
 7
                 Notes and Sources:
 8
                   Casualty figures exclude the shooter. LCM classification and casualties based on
 9                 review of stories from Factiva/Google searches.

10
11
           29.     Our results are consistent with those of other studies that have analyzed
12
     mass shootings. Note that although the other studies are based on alternate sets of
13
14   mass shootings, including covering different years and defining mass shootings

15   somewhat differently, the results are similar in finding that fatalities and injuries are
16   larger in mass shootings in which large capacity magazines are involved. A 2019
17
     academic article published in the American Journal ofPublic Health by Klarevas et
18
     al. found that "[a]ttacks involving LCMs resulted in a 62% higher mean average
19
     death toll." 37 This study found an average number of fatalities of 11.8 per mass
20
21   shooting with a large-capacity magazine versus 7 .3 for those without. The results in

22   this study were based on 69 mass shootings between 1990 and 2017. 38 An analysis
23
24         37 Louis Klarevas, Andrew Conner, and David Hemenway, "The Effect of

     Large-Capacity Magazine Bans on High-Fatality Mass Shootings, 1990-2017,"
25
     American Journal ofPublic Health (2019).
26         38 The Klarevas et al. study defines mass shootings as "intentional crimes of

27   gun violence with 6 or more victims shot to death, not including the perpetrators"
     and, unlike my analysis, does not exclude incidents in private places or incidents
28   involving other criminal activity such as 2~bbery.
                                 Supplemental Declaration of Lucy P. Allen
                                         (17-cv-1017-BEN-JLB)                          ATTACHMENT I, Page 21 of 45
                                                                                               to Marshall Declaration
                                                                                      USDC Case No . 2:22-cv-01815-IM
      Case 2:22-cv-01815-IM      Document 17-1      Filed 11/30/22       Page 22 of 45



 1   of the mass shootings detailed in a 2016 article by Gary Kleck yielded similar results
 2   (21 average fatalities or injuries in mass shootings involving large-capacity
 3
     magazines versus 8 for those without). 39 The Kleck study covered 88 mass shooting
 4
     incidents between 1994 and 2013. 40 In a 2018 study, Koper et al. found that mass
 5
     shootings involving assault weapons and large-capacity magazines resulted in an
 6
 7   average of 13.7 victims versus 5.2 for other cases. 41 The Koper et al. study covered

 8

 9

10
11
12
13
14
15
16
17
18
19
20
21
22         39 Kleck, Gary, "Large-Capacity Magazines and the Casualty Counts in Mass

     Shootings: The Plausibility of Linkages," 17 Justice Research and Policy 28
23
     (2016).
24         40 The Kleck study defines a mass shooting as "one in which more than six

     people were shot, either fatally or nonfatally, in a single incident." See, Kleck,
25
     Gary, "Large-Capacity Magazines and the Casualty Counts in Mass Shootings: The
26   Plausibility of Linkages," 17 Justice Research and Policy 28 (2016).
           41 Koper et al., "Criminal Use of Assault Weapons and High-Capacity
27
     Semiautomatic Firearms: an Updated Examination of Local and National Sources,"
28   Journal of Urban Health (2018).
                                              21
                            Supplemental Declaration of Lucy P. Allen
                                    (17-cv-1017-BEN-JLB)                 ATTACHMENT I, Page 22 of 45
                                                                                 to Marshall Declaration
                                                                        USDC Case No . 2:22-cv-01815-IM
      Case 2:22-cv-01815-IM                           Document 17-1                      Filed 11/30/22                  Page 23 of 45



 1   145 mass shootings between 2009 and 2015. 42 The table below summarizes their
 2   results.
 3
                            Comparison of Studies on the Use of Large-Capacity Magazines in Mass Shootings
 4
                                                       Criteria                        Time           # of       Avg. # of Fatalities + Injuries / Fatalities
 5                 Source             #Victims            Other Criteria              Period       Incidents        With LCM               Without LCM
                    (1)                   (2)                    (3)                    (4)           (5)                (6)                      (7)
 6
         Allen (2020) 1               at least4     Includes shootings "in a        1982-2019         161              27 /10                     9/ 6

 7                                    killed'       public place in one incident,
                                                    and exclude[s] incidents
                                                    involving other criminal
 8                                                  activity such as a robbery"

         Kleck et al. (2016) 3        at least 6    Excludes "spree shootings"      1994-2013          88              21 in/a                   8 / n/a

 9                                    shot          and includes shootings in
                                                    both "public" and "private"
                                                    places
10       Klarevas et al. (2019)4      at least 6    Includes "intentional crimes    1990-2017          69              n/a / 12                  n/a/7
                                      killed'       of gun violence"
11       Koper et al. (2018) 5        at least4     Includes shootings in both      2009-2015         145              14 / n/a                  5 I n!a
                                      killed'       public and private places
12
        Notes and Sources:
        1 Declaration of Lucy P. Allen in Support of Defendants' Opposition to Motion for Preliminary Injunction in James Miller el al. v. Xavier Becerra
13        el al., dated January 23, 2020.
        2 Excluding shooter.

14      3 Kleck, Gary, "Large-Capacity Magazines and the Casualty Counts in Mass Shootings: The Plausibility of Linkages," 17 Justice Research and

         Policy 28 (2016).
15      4 Klarevas et al., "The Effect of Large-Capacity Magazine Bans on High-Fatality Mass Shootings 1990-2017," American Journal of Public Health

         (2019).
        5 Koper et al., "Criminal Use of Assault Weapons and High-Capacity Semiautomatic Firearms: an Updated ExanJination of Local and National
16        Sources," Journal of Urban Health (2018). Note that the Koper et al study includes shootings involving both LCM and assault weapons.

17
18
              2.            Number of rounds fired in public mass shootings with large-
19                          capacity magazines
20            30.           In addition, the data indicates that it is common for offenders to fire
21   more than ten rounds when using a gun with a large-capacity magazine in mass
22
     shootings. Of the 63 mass shootings we analyzed through 2019 that are known to
23
     have involved a large-capacity magazine, there are 43 in which the number of shots
24
25
26
              42 The Koper et al. study defined mass shooting as "incidents in which four or
27
     more people were murdered with a firearm, not including the death of the shooter if
28   applicable and irrespective of the numbe2~f additional victims shot but not killed."
                                                Supplemental Declaration of Lucy P. Allen
                                                        (17-cv-1017-BEN-JLB)                                            ATTACHMENT I, Page23 of45
                                                                                                                                to Marshall Declaration
                                                                                                                       USDC Case No . 2:22-cv-01815-IM
      Case 2:22-cv-01815-IM      Document 17-1       Filed 11/30/22       Page 24 of 45



 1   fired is known. Shooters fired more than ten rounds in 40 of the 43 incidents, and the
 2   average number of shots fired was 103.
 3
           31.    Updating this analysis to include the 179 mass shootings through
 4
     October 2022 yields similar results. In particular, of the 73 mass shootings we
 5
     analyzed through 2022 that are known to have involved a large-capacity magazine,
 6
 7   there are 49 in which the number of shots fired is known. Shooters fired more than

 8   ten rounds in 46 of the 49 incidents, and the average number of shots fired was 102.
 9         3.     Percent of mass shooters' guns legally obtained
10
           32.    The data on public mass shootings indicates that the majority of guns
11
     used in these mass shootings were obtained legally. 43 Of the 161 mass shootings
12
     analyzed through 2019, there are 100 where it can be determined whether the gun
13
14   was obtained legally. According to the data, shooters in 77% of mass shootings

15   obtained their guns legally (77 of the 100 mass shootings) and 79% of the guns used
16   in these 100 mass shootings were obtained legally (184 of the 234 guns). (Note that
17
     even if one assumes that all of the mass shootings where it is not known were
18
     assumed to be illegally obtained, then one would find 48% of the mass shootings and
19
     61 % of the guns were obtained legally.) Updating this analysis to use the 179 mass
20
21   shootings through 2022 yields similar results. 44

22
23
24
25
           43 The determination of whether guns were obtained legally is based on
26   Mother Jones and Washington Post reporting.
           44 In particular, the 77% and 79% become 79% and 80% when updating the
27
     analysis to include mass shootings through 2022. The 48% and 61 % become 50%
28   and 62%.
                                               23
                             Supplemental Declaration of Lucy P. Allen
                                     (17-cv-1017-BEN-JLB)                 ATTACHMENT I, Page 24 of 45
                                                                                  to Marshall Declaration
                                                                         USDC Case No . 2:22-cv-01815-IM
      Case 2:22-cv-01815-IM      Document 17-1      Filed 11/30/22       Page 25 of 45



 1   Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury under the laws of
 2   the United States of America that the foregoing is true and correct.
 3         Executed on November 10, 2022, at New York, New York.
 4

 5
 6
 7
 8                                                 Lucy Allen

 9

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                              24
                            Supplemental Declaration of Lucy P. Allen
                                    (17-cv-1017-BEN-JLB)                 ATTACHMENT I, Page25 of45
                                                                                 to Marshall Declaration
                                                                        USDC Case No . 2:22-cv-01815-IM
   Case 2:22-cv-01815-IM   Document 17-1   Filed 11/30/22     Page 26 of 45



                      INDEX OF EXHIBITS


Exhibit                     Description                            Page No.


  A        Curriculum Vitae of Lucy P. Allen                            1-7


  B        Public Mass Shootings Data, 1982    October 2022            8-17




                                                             ATTACHMENT I, Page 26 of 45
                                                                     to Marshall Declaration
                                                            USDC Case No . 2:22-cv-01815-IM
Case 2:22-cv-01815-IM   Document 17-1   Filed 11/30/22    Page 27 of 45




                        EXHIBIT A




                                                          ATTACHMENT I, Page 27 of 45
                                                                  to Marshall Declaration
                                                         USDC Case No . 2:22-cv-01815-IM
         Case 2:22-cv-01815-IM            Document 17-1        Filed 11/30/22           Page 28 of 45



NERA
ECONOMIC CONSULTING
                                                                Lucy P. Allen
                                                                Managing Director

                                                                NERA Economic Consulting
                                                                1166 Avenue of the Americas
                                                                New York, New York 10036
                                                                Tel: +1 212 345 5913 Fax: +1 212 345 4650

Exhibit A                                                       lucy.allen@nera.com
                                                                www.nera.com




                                 LUCY P. ALLEN
                               MANAGING DIRECTOR

Education
               YALE UNIVERSITY
               M.Phil., Economics, 1990
               M.A., Economics, 1989
               M.B.A., 1986

               STANFORD UNIVERSITY
               A.B., Human Biology, 1981


Professional Experience
1994-Present          National Economic Research Associates, Inc.
                      Managing Director. Responsible for economic analysis in the areas of
                      securities, finance and environmental and tort economics.
                      Senior Vice President (2003-2016).
                      Vice President (1999-2003).
                      Senior Consultant (1994-1999).

1992-1993             Council of Economic Advisers, Executive Office of the President
                      Staff Economist. Provided economic analysis on regulatory and health
                      care issues to Council Members and interagency groups. Shared
                      responsibility for regulation and health care chapters of the Economic
                      Report of the President, 1993. Working Group member of the President's
                      National Health Care Reform Task Force.

1986-1988             Ayers, Whitmore & Company (General Management Consultants)
1983-1984             Senior Associate. Formulated marketing, organization, and overall
                      business strategies including:
                      Plan to improve profitability of chemical process equipment manufacturer.
                      Merger analysis and integration plan of two equipment manufacturers.
                      Evaluation of Korean competition to a U.S. manufacturer.
                      Diagnostic survey for auto parts manufacturer on growth obstacles.


                                                                                                     1

                                                                                        A1EMim1.f~ I A'.Uen& of 45
                                                                                                to Mfil14all Dec,laration
                                                                                       USDC Case No . 2:~Jl&J5-IM
     Case 2:22-cv-01815-IM          Document 17-1         Filed 11/30/22       Page 29 of 45


                                                                               Lucy P. Allen


                    Marketing plan to increase international market share for major accounting
                    firm.

Summer 1985         WNET/Channel Thirteen, Strategic Planning Department
                    Associate. Assisted in development of company's first long-term strategic
                    plan. Analyzed relationship between programming and viewer support.

1981-1983           Arthur Andersen & Company
                    Consultant.     Designed, programmed and installed management
                    information systems. Participated in redesign/conversion of New York
                    State's accounting system. Developed municipal bond fund management
                    system, successfully marketed to brokers. Participated in President's
                    Private Sector Survey on Cost Control (Grace Commission). Designed
                    customized tracking and accounting system for shipping company.

Teaching
1989- 1992          Teaching Fellow, Yale University
                    Honors Econometrics
                    Intermediate Microeconomics
                    Competitive Strategies
                    Probability and Game Theory
                    Marketing Strategy
                    Economic Analysis



Publications
      "Snapshot of Recent Trends in Asbestos Litigation: 2022 Update," (co-author), NERA
      Report, 2022.

      "Snapshot of Recent Trends in Asbestos Litigation: 2021 Update," (co-author), NERA
      Report, 2021.

      "The Short-Term Effect of Goodwill Impairment Announcements on Companies' Stock
      Prices" (co-author), International Journal ofBusiness, Accounting and Finance,
      Volume 14, Number 2, Fall 2020.

      "Snapshot of Recent Trends in Asbestos Litigation: 2020 Update," (co-author), NERA
      Report, 2020.

      "Snapshot of Recent Trends in Asbestos Litigation: 2019 Update," (co-author), NERA
      Report, 2019.

      "Snapshot of Recent Trends in Asbestos Litigation: 2018 Update," (co-author), NERA
      Report, 2018.




                                                                                                2

                                                                               A1EMim1.f~ I A'.Uen9 of 45
                                                                                       to Mfil14all Des;!aration
                                                                              USDC Case No. 2:~14!15-IM
Case 2:22-cv-01815-IM          Document 17-1         Filed 11/30/22       Page 30 of 45


                                                                         Lucy P. Allen


"Trends and the Economic Effect of Asbestos Bans and Decline in Asbestos
Consumption and Production Worldwide," (co-author), International Journal of
Environmental Research and Public Health, 15(3), 531, 2018.

"Snapshot of Recent Trends in Asbestos Litigation: 2017 Update," (co-author), NERA
Report, 2017.

"Asbestos: Economic Assessment of Bans and Declining Production and
Consumption," World Health Organization, 2017.

"Snapshot of Recent Trends in Asbestos Litigation: 2016 Update," (co-author), NERA
Report, 2016.

"Snapshot of Recent Trends in Asbestos Litigation: 2015 Update," (co-author), NERA
Report, 2015.

"Snapshot of Recent Trends in Asbestos Litigation: 2014 Update," (co-author), NERA
Report, 2014.

"Snapshot of Recent Trends in Asbestos Litigation: 2013 Update," (co-author), NERA
Report, 2013.

"Asbestos Payments per Resolved Claim Increased 75% in the Past Year- Is This
Increase as Dramatic as it Sounds? Snapshot of Recent Trends in Asbestos Litigation:
2012 Update," (co-author), NERA Report, 2012.

"Snapshot of Recent Trends in Asbestos Litigation: 2011 Update," (co-author), NERA
White Paper, 2011.

"Snapshot of Recent Trends in Asbestos Litigation: 2010 Update," (co-author), NERA
White Paper, 2010.

"Settlement Trends and Tactics" presented at Securities Litigation During the Financial
Crisis: Current Development & Strategies, hosted by the New York City Bar, New
York, New York, 2009.

"Snapshot of Recent Trends in Asbestos Litigation," (co-author), NERA White Paper,
2009.

"China Product Recalls: What's at Stake and What's Next," (co-author), NERA
Working Paper, 2008.

"Forecasting Product Liability by Understanding the Driving Forces," (co-author), The
International Comparative Legal Guide to Product Liability, 2006.

 "Securities Litigation Reform: Problems and Progress," Viewpoint, November 1999,
Issue No. 2 (co-authored).


                                                                                           3

                                                                          A1EMim1.f~ I A'.UenO of 45
                                                                                  to Mfil14all De\;jaration
                                                                         USDC Case No. 2:~All5-IM
    Case 2:22-cv-01815-IM           Document 17-1          Filed 11/30/22       Page 31 of 45


                                                                                Lucy P. Allen


     "Trends in Securities Litigation and the Impact of the PSLRA," Class Actions &
     Derivative Suits, American Bar Association Litigation Section, Vol. 9, No. 3, Summer
     1999 (co-authored).

     "Random Taxes, Random Claims," Regulation, Winter 1997, pp. 6-7 (co-authored).



Depositions & Testimony (4 years)
     Declaration before the United States District Court, Eastern District of Washington at
     Yakima, in Brumback et al. v. Ferguson et al., 2022.

     Trial Testimony before the Supreme Court of the State ofNew York, County of New
     York, in MUFG Union Bank, NA. (f/k/a Union Bank, NA.) v. Axos Bank (f/k/a Bank of
     Internet USA), et al., 2022.

     Supplemental Declaration before the United States District Court, Southern District of
     California, in James Miller et al. v. California Attorney General et al., 2022.

     Declaration before the United States District Court, Northern District of Texas, Dallas
     Division, in Samir Ali Cherif Benouis v. Match Group, Inc., et al., 2022.

     Deposition Testimony before the United States District Court for the Eastern District of
     Virginia, in Plymouth County Retirement System, et al. v. Evolent Health, Inc., et al.,
     2022.

     Deposition Testimony before the United States District Court for the Northern District
     of Georgia, in Public Employees ' Retirement System ofMississippi v. Mohawk
     Industries, Inc., et al., 2022.

     Deposition Testimony before the United States District Court for the Southern District
     ofNew York, inSECv. AT&T, Inc. etal., 2022.

     Deposition Testimony before the Superior Court of New Jersey, Hudson County, in
     Oklahoma Firefighters Pension and Retirement System vs. Newell Brands Inc., et al.,
     2022.

     Deposition Testimony before the United States District Court for the District of
     Pennsylvania, in Allegheny County Employees, et al. v. Energy Transfer LP., et al.,
     2022.

     Deposition Testimony before the United States District Court, District of Tennessee, in
     St. Clair County Employees' Retirement System v. Smith & Acadia Healthcare
     Company, Inc., et al., 2022.

     Deposition Testimony before the United States District Court, District of Colorado, in
     Cipriano Correa, et al. v. Liberty Oilfield Services Inc., et al., 2022.


                                                                                                 4

                                                                                AlJ!Afimif~ IA'.Uen.J of45
                                                                                        to Mfil14all Decjaration
                                                                               USDC Case No. 2:~fkl5-IM
Case 2:22-cv-01815-IM           Document 17-1         Filed 11/30/22       Page 32 of 45


                                                                           Lucy P. Allen


Deposition Testimony before the Superior Court of New Jersey, Hudson County, in
Oklahoma Firefighters Pension and Retirement System vs. Newell Brands Inc., et al.,
2021.

Deposition Testimony before the Superior Court of New Jersey, Middlesex County, in
Dana Transport, Inc. et al., vs. PNC Bank et al., 2021.

Deposition Testimony before the United States District Court, Western District of North
Carolina, in Cheyenne Jones and Sara J. Gast v. Coca-Cola Consolidated Inc., et al.,
2021.

Testimony and Deposition Testimony before the Court of Chancery of the State of
Delaware in Bardy Diagnostics Inc. v. Hill-Rom, Inc. et al., 2021.

Deposition Testimony before the United States Bankruptcy Court, Southern District of
Texas, Houston Division, in Natixis Funding Corporation v. Genon Mid-Atlantic, LLC,
2021.

Testimony and Deposition Testimony before the United States District Court, Southern
District of California, in James Miller et al. v. Xavier Becerra et al., 2021 .

Deposition Testimony before the Court of Chancery of the State of Delaware in
Arkansas Teacher Retirement System v. Alon USA Energy, Inc., et al., 2021.

Deposition Testimony before the United States District Court, Western District of
Oklahoma, in Kathleen J. Myers v. Administrative Committee, Seventy Seven Energy,
Inc. Retirement & Savings Plan, et al., 2020.

Deposition Testimony before the United States District Court, Middle District of
Tennessee, in Nikki Bollinger Grae v. Corrections Corporation ofAmerica, et al., 2020.

Deposition Testimony before the Supreme Court of the State ofNew York, County of
New York, in MUFG Union Bank, NA. (ilk/a Union Bank, NA.) v. Axos Bank (f/k/a
Banko/Internet USA), etal., 2020.

Declaration before the United States District Court for the Northern District of Georgia,
in Sunil Amin et al. v. Mercedes-Benz USA, LLC and Daimler AG, 2020.

Deposition Testimony before the United States District Court, Western District of
Washington at Seattle, in In re Zillow Group, Inc. Securities Litigation, 2020.

Declaration before the United States District Court for the Southern District of
California in James Miller et al. v. Xavier Becerra et al., 2020.

Deposition Testimony before the United States District Court, Middle District of
Tennessee, in Zwick Partners LP and Aparna Rao v. Quorum Health Corporation,
2019.


                                                                                            5

                                                                           A1EMim1.f~ I A'.Uen2 of 45
                                                                                   to Mfil14all Dei;Jaration
                                                                          USDC Case No. 2:~il!J5-IM
Case 2:22-cv-01815-IM            Document 17-1          Filed 11/30/22       Page 33 of 45


                                                                            Lucy P. Allen


Testimony and Declaration before the United States District Court, Southern District of
Iowa, in Mahaska Bottling Company, Inc., et al. v. PepsiCo, Inc. and Bottling Group,
LLC, 2019.

Declaration before the United States District Court Western District of Oklahoma in In
re: Samsung Top-Load Washing Machine Marketing, Sales Practices and Products
Liability Litigation, 2019.

Testimony before the United States District Court, Southern District of New York, in
Chicago Bridge & Iron Company NV Securities Litigation, 2019.

Deposition Testimony before the United States District Court, Middle District of
Florida, in Jacob J Beckel v. Fagron Holdings USA, LLC et al., 2019.

Deposition Testimony before the Clark County District Court of Nevada in Round
Square Company Limited v. Las Vegas Sands, Inc., 2018.

Deposition Testimony before the United States District Court, Middle District of
Tennessee, in Nikki Bollinger Grae v. Corrections Corporation ofAmerica et al., 2018.

Deposition Testimony before the District Court for the State of Nevada in Dan Schmidt
v. Liberator Medical Holdings, Inc., et al., 2018.

Deposition Testimony before the United States District Court, Northern District of
Illinois, Eastern Division, in In re the Allstate Corporation Securities Litigation, 2018.

Deposition Testimony before the United States District Court, Central District of
California, Southern Division, in Steven Rupp et al. v. Xavier Becerra et al., 2018.

Declaration before the Superior Court of the State of Vermont in Vermont Federation of
Sportsmen's Club et al. v. Matthew Birmingham et al., 2018.

Testimony before the American Arbitration Association in Arctic Glacier US.A, Inc.
and Arctic Glacier US.A., Inc. Savings and Retirement Plan v. Principal Life Insurance
Company, 2018.

Deposition Testimony before the United States District Court, Southern District of New
York, in Marvin Pearlstein v. Blackberry Limited et al., 2018.

Deposition Testimony before the United States District Court, Eastern District of Texas,
in Alan Hall and James DePalma v. Rent-A-Center, Inc., Robert D. Davis, and Guy J
Constant, 2018.

Deposition Testimony before the United States District Court, Southern District of
Iowa, in Mahaska Bottling Company, Inc., et al. v. PepsiCo, Inc. and Bottling Group,
LLC, 2018.




                                                                                              6

                                                                             A1EMim1.f~ I A'.Uei¥ of 45
                                                                                     to Mfil14all Dec).aration
                                                                            USDC Case No. 2:~~15-IM
Case 2:22-cv-01815-IM          Document 17-1          Filed 11/30/22      Page 34 of 45


                                                                          Lucy P. Allen


Testimony, Deposition Testimony and Declaration before the United States District
Court, District of New Jersey, in Association ofNew Jersey Rifle & Pistol Clubs, Inc. et
al. v. Gurbir Grewal et al., 2018.

Deposition Testimony before the Supreme Court of the State of New York in Bernstein
Liebhard, LLP v. Sentinel Insurance Company, Ltd., 2018.

Deposition Testimony and Declarations before the United States District Court,
Southern District of New York, in Andrew Meyer v. Concordia International Corp., et
al., 2018.

Deposition Testimony before the United States District Court, Southern District of
California, in Virginia Duncan, et al. v. Xavier Becerra, et al., 2018.




                                                                                           7

                                                                          A1EMim1.f~ I A'.Uen4 of 45
                                                                                  to Mfil14all Des;!aration
                                                                         USDC Case No. 2:~J.tl5-IM
Case 2:22-cv-01815-IM   Document 17-1   Filed 11/30/22    Page 35 of 45




                        EXHIBIT B




                                                          ATTACHMENT I, Page35 of45
                                                                  to Marshall Declaration
                                                         USDC Case No . 2:22-cv-01815-IM
                                  Case 2:22-cv-01815-IM                       Document 17-1                 Filed 11/30/22                     Page 36 of 45




                                                                              Exhibit B
                                                                      Public Mass Shootings Data
                                                                         1982 - October 2022
                                                                                                      Large                                     Total                   Gun(s)     Offender(s)'
                                                                                                     Capacity                                Fatalities &   Shots      Obtained    Number of
                                                                                                                                         0
                         Case                         Location         Date              Source      Mag.?'     Fatalitiesb   Injuries        Injuries      Firedd     Legally?°      Guns

                            (1)                          (2)            (3)               (4)          (5)          (6)          (7)             (8)         (9)         (10)          (11)


18 mass shootings since Allen (2020):
  I. Raleigh spree shooting                    Hedingham, NC          10/13/22    Ml                                               2               7                                     2
  2. Highland Park July 4 parade shooting      Highland Park, IL        7/4/22    Ml                  Yes             7           48              55           83 ba     Yes
   3. Tulsa medical center shooting            Tulsa, OK                6/1/22    Ml                                  4            9 bb            13 bb       37 be     Yes             2
   4. Robb Elementary School massacre          Uvalde, TX              5/24/22    Ml                   Yes           21           17               38         315 bd     Yes              I be

  5. Buffalo supermarket massacre              Buffalo, NY             5/14/22    MJNP                Yes            10                           13           60 bf     Yes
   6. Sacramento County church shooting        Sacramento, CA          2/28/22    Ml                   Yes            4            0                4                    Yes bg

   7. Oxford High School shooting              Oxford, MI             11/30/21    MJNP                 Yes            4                            11          30 bh     Yes bi

   8.   San Jose VTA shooting                  San Jose, CA            5/26/21    MJNP                 Yes            9            0                9          39 bj     Yes bk          3
   9. Canterbury Mobile Home Park shooting     Colorado Springs, CO     5/9/21    WaPo                 Yes            6            0                6          17 bl

  10. FedEx warehouse shooting                 Indianapolis, 1N        4/15/21    MJNP/WaPo            Yes            8            7               15                    Yes             2 bm

 II. Orange office complex shooting            Orange, CA              3/31/21    MJNP/WaPo                           4
 12. Essex Royal Fanns shooting                Baltimore County, MD    3/28/21    WaPo                                4                                                  Yes bn

  13. King Soopers supermarket shooting        Boulder, CO             3/22/21    MJNP/WaPo            Yes           10            0               IO                    Yes             2
  14. Atlanta massage parlor shootings         Atlanta,GA              3/16/21    MJNP/WaPo            Yes            8                             9                    Yes bo

  15 . Hyde Park shooting                      Chicago, IL              1/9/21    WaPo                                             2                7
  16. Englewood block party shooting           Chicago, IL              7/4/20    WaPo                                4            4
  17. Springfield convenience store shooting   Springfield, MO         3/15/20    MJNP/WaPo                           4            2                6                    Yes bp          2
  18. Molson Coors shooting                    Milwaukee, WI           2/26/20    MJNP/WaPo                                        0                           12 bq                     2 br


161 mass shootings in Allen (2020):
 19. Jersey City Kosher Supermarket            Jersey City, NJ        12/10/19    MJNP/WaPo                           4            3                                     Yes
 20. Football-watching party                   Fresno, CA             11/17/19    WaPo                                4            6              10                                     2
 21. Halloween Party                           Orinda, CA              11 /1/19   WaPo                                             0
 22. Tequila KC bar                            Kansas City, KS         10/6/19    WaPo                                4                            9                     No              2
 23. Midland-Odessa Highways                   Odessa, TX             8/31/19     MJNP/WaPo                           7           25              32                     No
 24. Dayton                                    Dayton, OH               8/4/19    MJNP/WaPo           Yes             9           27              36           41 f      Yes            1/2
  25. El Paso Wal mart                         El Paso, TX              8/3/19    MJNP/WaPo            Yes           22           26               48                    Yes

                                                                                       Pagel of IO




                                                                                                                                              A1E~IB I A'.Uei¥ of 45
                                                                                                                                                      to Mfil14all De<,laration
                                                                                                                                             USDC Case No. 2:~~15-IM
                              Case 2:22-cv-01815-IM                      Document 17-1                 Filed 11/30/22                     Page 37 of 45




                                                                         Exhibit B
                                                                 Public Mass Shootings Data
                                                                    1982 - October 2022
                                                                                                 Large                                     Total                   Gun(s)     Offender(s)'
                                                                                                Capacity                                Fatalities &   Shots      Obtained    Number of
                                                                                                                                    0
                      Case                    Location            Date               Source      Mag.?'    Fatalitiesb   Injuries        Injuries      Firedd     Legally?°      Guns

                        (1)                          (2)           (3)                (4)         (5)          (6)          (7)             (8)         (9)         (10)          (11)

26. Casa Grande Senior Mobile Estates   Santa Maria, CA          6/19/19      WaPo                               4            0               4
27. Virginia Beach Municipal Center     Virginia Beach, VA       5/31 /19     MJNP/WaPo          Yes            12            4              16                     Yes             2
28. Herny Pratt Co.                     Aurora, IL               2/15/19      MJNP/WaPo                                       6              II                     No
29. SunTrust Bank                       Sebring, FL              1/23/19      MJNP/WaPo                                       0                                     Yes
30. Borderline Bar & Grill              Thousand Oaks, CA        11 /7/18     MJNP/WaPo          Yes            12                           13           so g      Yes
31. Tree of Life Synagogue              Pittsburgh, PA           10/27/18     MJNP/WaPo                         11            6               17                    Yes             4
32. T&T Trucking                        Bakersfield, CA           9/12/18     MJNP/WaPo           No                          0
33. Capital Gazette                     Annapolis, MD             6/28/18     MJNP/WaPo                                       2                7                    Yes
34. Santa Fe High School                Santa Fe, TX              5/18/18     MJNP/WaPo           No            10           13               23                                    2
35. Waffle House                        Nashville, TN            4/22/18      MJNP/WaPo                          4            4                                     Yes
36. Detroit                             Detroit, MI               2/26/18     VP                                 4            0                4
37. Stoneman Douglas HS                 Parkland, FL              2/14/ 18    CC/MJNP/WaPo        Yes           17           17               34                    Yes
38. Pennsylvania Carwash                Melcroft, PA              1/28/18     MJNP/WaPo                          4                                                                  3h
39. Rancho Tehama                       Rancho Tehama, CA        11/14/17     MJNP/WaPo           Yes            4           10               14          30 i      No              2
40. Texas First Baptist Church          Sutherland Springs, TX    11 /5/17    CC/MJNP/WaPo        Yes           26           20               46         4soi       Yes
41. Las Vegas Strip                     Las Vegas, NV             10/1 / 17   CC/MJNP/WaPo        Yes           58          422             480         I 100 k     Yes            23
42. Taos and Rio Arriba counties        Abiquiu,NM                6/15/17     WaPo                No                          0
43. Fiamma Workplace                    Orlando, FL                6/5/17     CC/MJNP/WaPo        No                          0
44. Marathon Savings Bank               Rothschild, WI            3/22/17     VP/WaPo                            4            0                4                                    2
45. Club 66                             Yazoo City, MS             2/6/17     VP/WaPo                            4            0                4
46. Fort Lauderdale Airport             Fort Lauderdale, FL        1/6/17     CCIMJNP/WaPo        No                          6               II          IS I      Yes
47. Cascade Mall                        Burlington, WA            9/23/16     CC/MJNP/WaPo        Yes                         0
48. Dallas Police                       Dallas, TX                 7/7/16     CCIMJNP/WaPo        Yes                        II               16                    Yes
49. Walgreens Parking Lot               Las Vegas, NV             6/29/16     WaPo                               4            0                4
SO. Orlando Nightclub                   Orlando, FL               6/12/16     CC/MJNP/WaPo        Yes           49           53              102         110 m      Yes             2
SI. Franklin Avenue Cookout             Wilkinsburg, PA            3/9/16     VP/WaPo             Yes            6                             9          48 n      No              2
52. Kalamazoo                           Kalamazoo County, MI      2/20/16     MJNP/WaPo           Yes            6            2                8                    Yes
53 . San Bernardino                     San Bernardino, CA        12/2/15     CC/MJNP/WaPo        Yes           14           22               36         ISO 0      Yes             4

                                                                                   Page2 of!0




                                                                                                                                         A1E~IB I A'.Uen.7 of 45
                                                                                                                                                 to Mfil14all De~aration
                                                                                                                                        USDC Case No. 2:~Ml5-IM
                                Case 2:22-cv-01815-IM                 Document 17-1                 Filed 11/30/22                     Page 38 of 45




                                                                      Exhibit B
                                                              Public Mass Shootings Data
                                                                 1982 - October 2022
                                                                                              Large                                     Total                  Gun(s)     Offender(s)'
                                                                                             Capacity                                Fatalities &   Shots     Obtained    Number of
                                                                                                                                 0
                        Case                  Location         Date              Source       Mag.?'    Fatalitiesb   Injuries        Injuries      Firedd    Legally?°      Guns

                          (1)                     (2)           (3)               (4)          (5)          (6)          (7)             (8)         (9)        (10)          (11)

54. Tennessee Colony campsite           Anderson County, TX   11/15/15    VP/WaPo                             6            0               6
55. Umpqua Community College            Roseburg, OR           10/1/15    CC/MJ/VP/WaPo                       9            9              18                    Yes             6
56. Chattanooga Military Center         Chattanooga, TN        7/16/15    CC/MJNP/WaPo        Yes                          2               7                    Yes
57. Charleston Church                   Charleston, SC         6/17/15    CC/MJNP/WaPo        Yes             9                           12                    Yes
58. Marysville High School              Marysville, WA        10/24/14    CC/MJNP/WaPo        Yes             4                                                 No
59. Isla Vista                          Santa Barbara, CA      5/23/14    MJNP/WaPo           No              6           13              19           50 P     Yes
60. Alturas Tribal                      Alturas, CA            2/20/14    MJNP/WaPo                           4            2                6                                   2
61. Washington Navy Yard                Washington, D.C.       9/16/13    CC/MJNP/WaPo         No            12                            20                   Yes             2
62. Hialeah                             Hialeah, FL            7/26/13    CC/MJ/VP/WaPo        Yes            6            0                6          10 q     Yes
63. Santa Monica                        Santa Monica, CA        6/7/13    CC/MJ/VP/WaPo        Yes                                                     70 r     Yes             2
64. Federal Way                         Federal Way, WA        4/21/13    MJNP/WaPo                           4            0                4                   Yes             2
65. Upstate New York                    Herkimer County, NY    3/13/13    MJNP/WaPo                           4            2                6                   Yes
66. Newtown School                      Newtown, CT           12/14/12    CC/MJ/VP/WaPo        Yes           27            2               29         154       No            4/3
67. Accent Signage Systems              Minneapolis, MN        9/27/12    CC/MJNP/WaPo         Yes            6            2                           46       Yes
68. Sikh Temple                         Oak Creek, WI           8/5/12    CC/MJNP/WaPo         Yes            6            4               10                   Yes
69. Aurora Movie Theater                Aurora,CO              7/20/12    CC/MJNP/WaPo         Yes           12           70               82          80       Yes             4
70. Seattle Cafe                        Seattle, WA            5/30/12    CC/MJNP/WaPo         No                                           6                   Yes             2
71. Oikos University                    Oakland, CA             4/2/12    CC/MJ/VP/WaPo        No             7                            10                   Yes
72. Su Jung Health Sauna                Norcross, GA           2/22/12    MJ/WaPo                             4            0                4                   Yes
73. Seal Beach                          Seal Beach, CA        10/ 14/11   CC/MJ/VP/WaPo        No                                           9                   Yes
74. !HOP                                Carson City, NV         9/6/11    CC/MJ/VP/WaPo        Yes            4                            11                   Yes
75. Akron                               Akron, OH               8/7/11    VP                   No             7            2                9          21 s

76. Forum Roller World                  Grand Prairie, TX      7/23/11    WaPo                                             4                9
77. Grand Rapids                        Grand Rapids, MI        7/7/11    cc                   Yes            7            2                9          10
78. Family law practice                 Yuma, AZ,               6/2/11    WaPo                                                              6
79. Tucson                              Tucson, AZ              1/8/11    CC/MJ/VP/WaPo        Yes            6           13               19          33       Yes
80. Jackson                             Jackson, KY            9/11/10    VP                   No                          0                           12 t

81. City Grill                          Buffalo, NY            8/14/10    VP/WaPo                             4            4                8          10 u

                                                                               Page 3 of!0




                                                                                                                                       A1E~IB I A'.Uen& of 45
                                                                                                                                           to M~all D.f',laration
                                                                                                                                     USDC Case No . !'.1lg_w-M!15-IM
                                Case 2:22-cv-01815-IM                        Document 17-1              Filed 11/30/22                     Page 39 of 45




                                                                             Exhibit B
                                                                     Public Mass Shootings Data
                                                                        1982 - October 2022
                                                                                                  Large                                     Total                     Gun(s)     Offender(s)'
                                                                                                 Capacity                                Fatalities &   Shots        Obtained    Number of
                                                                                                                                     0
                         Case                       Location          Date           Source       Mag.?'    Fatalitiesb   Injuries        Injuries      Firedd       Legally?°      Guns

                          (1)                            (2)           (3)             (4)         (5)          (6)          (7)             (8)         (9)           (10)          (11)

82. Hartford Beer Distributor                 Manchester, CT           8/3/10    CC/MJNP/WaPo     Yes             8            2              10           II          Yes             2
83. Yoyito Cafe                               Hialeah, FL             6/6/10     CCNP/WaPo        No              4                            7               9 V

 84. Hot Spot Cafe                            Los Angeles, CA          4/3/10    VP/WaPo                          4            2                6          50 w

 85. Coffee Shop Police                       Parkland, WA           11/29/09    CC/MJNP/WaPo      No             4            0                4                      No              2
 86. Fort Hood                                Fort Hood, TX           11/5/09    CC/MJNP/WaPo      Yes           13           32               45         214          Yes
 87. Worth Street                             Mount Airy, NC          11 /1/09   VP/WaPo                          4            0                4          16 X        No
 88. Binghamton                               Binghamton, NY           4/3/09    CC/MJNP/WaPo      Yes           13            4               17          99          Yes             2
 89. Carthage Nursing Home                    Carthage, NC            3/29/09    CC/MJNP/WaPo      No                          2               10                      Yes             2
 90. Skagit County                            Alger, WA                9/2/08    VP/WaPo                          6            4               10                      No              2
 91. Atlantis Plastics                        Henderson, KY           6/25/08    CC/MJNP/WaPo      No                                           6                      Yes
 92. Black Road Auto                          Santa Maria, CA         3/ 18/08   VP/WaPo                          4            0                4          17Y
 93. Northern Illinois University             DeKalb, IL              2/14/08    CC/MJNP/WaPo      Yes                        21               26          54          Yes             4
 94. Kirkwood City Council                    Kirkwood, MO             2/7/08    CC/MJNP/WaPo      No             6                             7                      No              2
 95. Youth With a Mission and New Life Church Colorado Springs, CO    12/9/07    VP/WaPo           Yes            4                             9          25 z

 96. Westroads Mall                           Omaha,NE                12/5/07    CC/MJNP/WaPo      Yes            8                            13          14          No
 97. Crandon                                  Crandon, WI             10/7/07    CC/MJ/WaPo        Yes            6                             7          30 aa       Yes
 98. Virginia Tech                            Blacksburg, VA         4/ 16/07    CC/MJNP/WaPo      Yes           32           17               49         176          Yes             2
 99. Trolley Square                           Salt Lake City, UT      2/12/07    CC/MJNP/WaPo      No                          4                9                      No              2
100. Amish School                             Lancaster County, PA    10/2/06    CC/MJNP/WaPo      No                                          10                      Yes
IOI. The Ministry of Jesus Christ             Baton Rouge, LA         5/21/06    VP/WaPo                                                        6
102. Capitol Hill                             Seattle, WA             3/25/06    CC/MJNP/WaPo      Yes            6            2                                       Yes             4
103 . Goleta Postal                           Goleta, CA              1/30/06    CC/MJNP/WaPo      Yes            7            0                7                      Yes
104. Sash Assembly of God                     Sash, TX                8/29/05    VP/WaPo                          4            0                4                                      2
105. Red Lake                                 RedLake,MN              3/21/05    CC/MJNP/WaPo      No             9            7               16                      No              3
106. Living Church of God                     Brookfield, WI          3/12/05    CC/MJNP/WaPo      Yes            7            4               II                      Yes
107. Fulton County Courthouse                 Atlanta, GA             3/11/05    VP/WaPo                          4            0                4                      No
108. Damageplan Show                          Columbus, OH            12/8/04    CC/MJNP/WaPo      No             4                             7          15 ab       Yes
109. Hunting Camp                             Meteor, WI             11/21 /04   CCNP/WaPo         Yes            6            2                8          20

                                                                                    Page4 of!0




                                                                                                                                           A1E~IB I A'.Uen.9 of 45
                                                                                                                                                  to M~all D.fc,laration
                                                                                                                                         USDC Case No . !'.llg_w-~Jlsl 5-IM
                                 Case 2:22-cv-01815-IM                   Document 17-1                  Filed 11/30/22                     Page 40 of 45




                                                                         Exhibit B
                                                                 Public Mass Shootings Data
                                                                    1982 - October 2022
                                                                                                  Large                                     Total                      Gun(s)     Offender(s)'
                                                                                                 Capacity                                Fatalities &   Shots         Obtained    Number of
                                                                                                                                     0
                          Case                      Location      Date             Source         Mag.?'    Fatalitiesb   Injuries        Injuries      Firedd        Legally?°      Guns

                           (1)                            (2)      (3)               (4)           (5)          (6)          (7)             (8)         (9)            (10)          (11)

110. ConAgra Foods Plant                      Kansas City, KS     7/3/04     VP/WaPo                              6                            7           10 ac                        2
Ill.   Stateline Tavern                       Oldtown, ID        10/24/03    VP/WaPo               Yes            4            0                4          14 ad

112. Windy City Warehouse                     Chicago, IL         8/27/03    CCNP/WaPo             No             6            0                6
113 . Lockheed Martin                         Meridian, MS         7/8/03    CC/MJNP/WaPo                         6            8               14                       Yes
114. Labor Ready                              Huntsville, AL      2/25/03    VP/WaPo                              4
115. Bertrand Products                        South Bend, 1N      3/22/02    VP/WaPo                              4            2                6                                       2
116. Bums International Security              Sacramento, CA      9/10/01    VP/WaPo               Yes                         2                7         200 ae                        2
117. Bookcliff RV Park                        Rifle, CO            7/3/01    VP/WaPo               No             4                             7              6 af

118. Navistar                                 Melrose Park, IL     2/5/01    CC/MJNP/WaPo          Yes            4            4                                        Yes             4
119. Houston                                  Houston, TX          1/9/0 1   VP                                   4            0                4
120. Wakefield                                Wakefield, MA      12/26/00    CC/MJNP/WaPo          Yes            7            0                7          37           Yes
121. Mount Lebanon                            Pittsburgh, PA     4/28/00     VP/WaPo               No                                           6                       Yes
122. Mi-T-Fine Car Wash                       Irving, TX          3/20/00    VP/WaPo                                                            6
123. Hotel                                    Tampa, FL          12/30/99    CC/MJNP/WaPo          No                                                                   Yes             2
124. Xerox                                    Honolulu, HI        11 /2/99   CC/MJNP/WaPo          Yes            7            0                7          28           Yes
125. Wedgwood Baptist Church                  Fort Worth, TX      9/15/99    CC/MJNP/WaPo          Yes            7            7               14          30           Yes             2
126. Atlanta Day Trading                      Atlanta, GA         7/29/99    MJ/VP/WaPo                           9           13               22                       Yes             4
127. Albertson's Supermarket                  Las Vegas, NV        6/3/99    VP/WaPo                              4
128. Columbine High School                    Littleton, CO      4/20/99     CC/MJNP/WaPo          Yes           13           23               36         188           No              4
129. New St. John Fellowship Baptist Church   Gonzalez, LA        3/10/99    VP/WaPo                              4            4
130. Thurston High School                     Springfield, OR     5/21 /98   CC/MJ/VP/WaPo         Yes            4           25               29          so           No
131. Westsi de Middle School                  Jonesboro, AR       3/24/98    CC/MJNP/WaPo          Yes                        10               IS          26           No           9/10
132. Connecticut Lottery                      Newington, CT        3/6/98    CC/MJ/VP/WaPo         Yes            4            0                4                       Yes
133. Caltrans Maintenance Yard                Orange, CA         12/ 18/97   CC/MJNP/WaPo          Yes            4            2                6         144           Yes
134. Erie Manufacturing                       Bartow, FL          12/3/97    VP                                   4            0                4          12 ag

135. RE. Phelon Company                       Aiken, SC           9/15/97    CC/MJNP/WaPo          No             4                             7                       No
136. News and Sentinel                        Colebrook, NH       8/20/97    VP/WaPo                              4            4                                                        2
137. Fire Station                             Jackson, MS         4/2 5/96   VP/WaPo

                                                                                  Page S of 10




                                                                                                                                          A1E~IB I A'.Uet\O of 45
                                                                                                                                                  to M~all D.fs;laration
                                                                                                                                         USDC Case No. t'.'~-lll4!15-IM
                                 Case 2:22-cv-01815-IM                 Document 17-1                Filed 11/30/22                     Page 41 of 45




                                                                       Exhibit B
                                                               Public Mass Shootings Data
                                                                  1982 - October 2022
                                                                                              Large                                     Total                      Gun(s)     Offender(s)'
                                                                                             Capacity                                Fatalities &   Shots         Obtained    Number of
                                                                                                                                 0
                          Case                 Location         Date               Source     Mag.?'    Fatalitiesb   Injuries        Injuries      Firedd        Legally?°      Guns

                           (1)                     (2)           (3)                (4)        (5)          (6)          (7)             (8)         (9)            (10)          (11)

138. Fort Lauderdale                     Fort Lauderdale, FL     2/9/96     CC/MJNP/WaPo      No                                           6           14 ah        Yes             2
139. Little Chester Shoes                New York, NY          12/19/9 5    VP/WaPo            Yes
140. Piper Technical Center              Los Angeles, CA        7/19/9 5    CCNP/WaPo          Yes            4            0                4
141. Walter Rossler Company              Corpus Christi, TX      4/3/95     CC/MJNP/WaPo       No                          0                                        Yes             2
142. Puppy creek                         Hoke County, NC       12/31 /94    VP                                                              6
143. Air Force Base                      Fairchild Base, WA     6/20/94     CCIMJNP/WaPo       Yes            4           23               27          50 ai        Yes
144. Chuck E. Cheese                     Aurora, CO            12/14/93     CCIMJNP/WaPo       No             4
145. Long Island Railroad                Garden City, NY        12/7/93     CC/MJNP/WaPo       Yes            6           19               25          30           Yes
146. Unemployment Office                 Oxnard, CA             12/2/93     VP/WaPo                           4            4
147. Family Fitness Club                 El Cajon,CA           10/14/93     VP/WaPo                           4            0                4                       Yes
148. Luigi's Restaurant                  Fayetteville, NC        8/6/93     CC/MJNP/WaPo       No             4            8               12                       Yes             3
149. Washington County Bar               Jackson, MS             7/8/93     WaPo                                           0
150.   10 I California Street            San Francisco, CA       7/1/93     CC/MJNP/WaPo       Yes            8            6               14          75           No
151. Card club                           Paso Robles, CA        11 /8/92    VP/WaPo                           6                             7
152. Watkins Glen                        Watkins Glen, NY      10/15/92     CC/MJNP/WaPo       No             4            0                4                       Yes
153. Lindhurst High School               Olivehurst, CA          5/1/92     CC/MJNP/WaPo       No             4           10               14                       Yes             2
154. Phoenix                             Phoenix, AZ            3/15/92     VP                                4            0                4
155. Royal Oak Postal                    Royal Oak, MI         11 /14/9 1   CC/MJNP/WaPo       Yes            4            4                                        Yes
156. Restaurant                          Harrodsburg, KY       11 /10/91    VP/WaPo            No             4            0                4              6 aj     No
157. University of Iowa                  Iowa City, IA          11 /1/9 1   CC/MJNP/WaPo       No                                           6                       Yes
158. Luby's Cafeteria                    Killeen, TX           10/16/9 1    CC/MJNP/WaPo       Yes           23           20               43         100           Yes             2
159. Post office                         Ridgewood, NJ         10/10/91     VP/WaPo            Yes            4            0                4                                       2
160. GMAC                                Jacksonville, FL       6/18/90     CC/MJNP/WaPo       Yes            9            4               13          14           Yes             2
161. Standard Gravure Corporation        Louisville, KY         9/14/89     CC/MJNP/WaPo       Yes                        12               20          21           Yes
162. Stockton Schoolyard                 Stockton, CA           1/17/89     CC/MJNP/WaPo       Yes                        29               34         106           Yes             2
163 . Montefiore School                  Chicago, IL            9/22/88     VP/WaPo            No             4            2                6
164. Old Salisbury Road                  Winston-Salem, NC      7/17/88     VP/WaPo                           4                             9
165. ESL                                 Sunnyvale, CA          2/16/88     CC/MJNP/WaPo       No             7            4               II                       Yes             7

                                                                                 Page6ofl0




                                                                                                                                       A'JE~IB IA'.Uet\l of 45
                                                                                                                                              to M~all D.i:\:Jaration
                                                                                                                                     USDC Case No . !'.llg_w-~All 5-IM
                                 Case 2:22-cv-01815-IM                                    Document 17-1                           Filed 11/30/22                      Page 42 of 45




                                                                                          Exhibit B
                                                                                  Public Mass Shootings Data
                                                                                     1982 - October 2022
                                                                                                                           Large                                       Total                    Gun(s)     Offender(s)'
                                                                                                                         Capacity                                   Fatalities &    Shots      Obtained    Number of
                                                                                                                                                                0
                        Case                                Location               Date                Source             Mag.?'      Fatalitiesb    Injuries        Injuries       Firedd     Legally?°      Guns

                          (1)                                  (2)                  (3)                  (4)                 (5)           (6)          (7)             (8)           (9)        (10)          (11)

166. Shopping Centers                               Palm Bay, FL                  4/23/87      CC/MJNP/WaPo                 Yes              6           14              20            40 ak     Yes
167. United States Postal Service                    Edmond, OK                    8/20/86      CC/MJNP/WaPo                No              14             6               20                    Yes
168. Anchor Glass Container Corporation              South Connellsville, PA       3/16/85      VP/WaPo                     No               4
169. Other Place Lounge                              Hot Springs, AR               7/24/84      VP/WaPo                     No               4
170. San Ysidro McDonald1s                           San Ysidro, CA                7/18/84      CC/MJNP/WaPo                Yes             21            19               40         257        Yes
171. Dallas Nightclub                                Dallas, TX                    6/29/84      CCIMJNP/WaPo                Yes              6                              7                    No
172. Alaska Mining Town                              Manley Hot Springs, AK        5/17/84      VP/WaPo                     No               7             0                7
173 . College Station                                Collge Station, TX           10/11 /83     VP                                           6             0                6
174. Alaska Back-County                              McCarthy, AK                   3/1/83      VP/WaPo                                      6             2                                                     2
175. Upper West Side Hotel                           NewYork,NY                     2/3/83      VP                          No               4
176. The Investor                                    Noyes Island, AK               9/6/82      WaPo                                                       0
177. Welding Shop                                    Miami, FL                     8/20/82      MJNP/WaPo                   No               8                             II                    Yes
178. Western Transfer Co.                            Grand Prairie, TX              8/9/82      VP/WaPo                                      6             4               10                                    3
179. Russian Jack Springs Park                       Anchorage, AK                  5/3/82      VP/WaPo                                      4             0               4                     No

                                                                                                             LCM Avg. (1982-2019):          10            17               27          103
                                                                                                         Non-LCM Avg. (1982-2019):           6             3                9           16

                                                                                                         LCM Avg. (1982-Oct. 2022):         10            16               25         102
                                                                                                     Non-LCM Avg. (1982-Oct. 2022):          6             3                9          16



 Notes and Sources:

    Public Mass Shootings from Mother Jones ("US Mass Shootings, 1982-2022 : Data from Mother Jones' Investigation," updated October 14, 2022). MJ indicates a mass shooting identified by Mother Jones.

    The Citizens Crime Commission of New York City ("Mayhem Multiplied: Mass Shooters and Assault Weapons," February 2018 update, and 11 Citizens Crime Commission of New York City, Mass Shooting
    Incidents in America (1984-2012)," accessed June 1, 2017). CC indicates a mass shooting identified by Citizens Crime Commission of New York City data.

    The Washington Post ("The Terrible Numbers That Grow With Each Mass Shooting/, updated May 12, 2021). WaPo indicates a mass shooting identified by The Washington Post.

    The Violence Project ("Mass Shooter Database," updated May 14, 2022). VP indicates a mass shooting identified by the Violence Project.

  a Large capacity magazines are those with a capacity to hold more than 10 rounds of ammunition. Stories from Factiva and Google searches reviewed to determine whether an LCM was involved.

  b Offender(s) are not included in counts of fatalities and injuries. Stories from Factiva and Google searches reviewed to determine nwnber of fatalities and injuries.

                                                                                                     Page7ofl0




                                                                                                                                                                      A'JE~IB IA'.Uet\2 of 45
                                                                                                                                                                                   to M~all D.fc]aration
                                                                                                                                                                    USDC Case No . r~-Mkl 5-IM
                                 Case 2:22-cv-01815-IM                                    Document 17-1                         Filed 11/30/22                      Page 43 of 45




                                                                                          Exhibit B
                                                                                  Public Mass Shootings Data
                                                                                     1982 - October 2022
                                                                                                                           Large                                     Total                Gun(s)     Offender(s)'
                                                                                                                         Capacity                                Fatalities &   Shots    Obtained    Number of
                        Case                                   Location            Date               Source              Mag.?'       Fatalitiel    Injuriesc    lnjuriesc     Firedd   Legally?°      Guns

                          (1)                                    (2)                (3)                  (4)                 (5)           (6)          (7)           (8)        (9)       (10)          (11)


  c Offender(s) are not included in counts of fatalities and injuries. Stories from Factiva and Google searches reviewed to determine number of fatalities and injuries.

 d Except where noted, all data on shots fired obtained from CC.

  e The determination of whether guns were obtained legally is based on Mother Jones and Washington Post reporting.

ba "'This is the norm in our country': Highland Park Mayor speaks to Senate committee about gun violence," CBS Chicago , July 20, 2022.

bb MJ reported 11 fewer than 10" injuries for this incident.

be "Update: Man among those killed held door to allow others to escape, Tulsa police chief says," Tulsa World, June 2, 2022.

bd "The gunman in Uvalde carried more ammW1ition into Robb Elementary School than a U.S. soldier carries into combat," CBS News , May 27, 2022.

be "Uvalde gunman legally bought AR rifles days before shooting, law enforcement says, 11 The Texas Tribune , May 25, 2022.

 bf "Buffalo shooting suspect says his motive was to prevent 'eliminating the white race'," NPR, June 16, 2022.

bg "Sacramento Church Mass Shooting Follows Disturbing Trend of Domestic Violence, Mass Shooting Connection; Rise of Ghost Guns," Every/own , March 7, 2022.

bh "Oxford High School shooter fired 30 rounds, had 18 more when arrested, sheriff says, 11 Fox2Detroil, December 1, 2021 .

 bi "Father of suspected Oxford High School shooter bought gun 4 days before shooting," Fox 2 Detroit, December I, 2021.

 bj "VTA shooter fired 39 rounds during attack; carried 32 high-capacity magazines," KTVU Fox 2, May 27, 2021 .

bk "Sam Cassidy legally owned guns used in San Jose VTA shooting: Sheriff," Kron4, May 28, 2021.

 bl "Colorado Springs shooter who killed 6 at party had "displayed power and control issues," police say," The Denver Post , May 11, 2021 .

bm "Indianapolis FedEx Shooter Who Killed 4 Sikhs Was Not Racially Motivated, Police Say," NPR , July 28, 2021 .

bn "Police Investigate Three Separate Fatal Shooting Incidents In Baltimore County," Baltimore County Government Website, March 29, 2021.

bo "Atlanta Shooting Suspect Bought Gun on Day of Rampage, 11 Courthouse News , March 26, 2021.

bp "Search warrant reveals new information in Springfield Kum & Go shooting, 11 Springfield News-Leader, April 8, 2020.

bq "'There was no warning this was going to happen,' Miller shooting witnesses told investigators," WISN 12 News , November 24, 2020.

 br "Milwaukee Miller brewery shooting: Six Molson Coors workers, including shooter, dead in rampage,° Milwaukee Journal Sentinel , February 26, 2020.

                                                                                                    Page 8 of!0




                                                                                                                                                                    A1E~IB I A'.Uet\3 of 45
                                                                                                                                                                        to M~all D.f',laration
                                                                                                                                                                  USDC Case No . !'.llg_w-~il!J 5-IM
                              Case 2:22-cv-01815-IM                                   Document 17-1                         Filed 11/30/22                   Page 44 of 45




                                                                                      Exhibit B
                                                                              Public Mass Shootings Data
                                                                                 1982 - October 2022
                                                                                                                     Large                                    Total                 Gun(s)     Offender(s)'
                                                                                                                    Capacity                               Fatalities &   Shots    Obtained     Number of
                       Case                              Location              Date               Source             Mag.?'     Fatalitiel     Injuriesc    lnjuriesc     Firedd   Legally?°      Guns

                        (1)                                 (2)                 (3)                 (4)                   (5)      (6)            (7)          (8)         (9)        (10)          (11)

f "The Dayton gunman killed 9 people by firing 41 shots in 30 seconds. A high-capacity rifle helped enable that speed," CNN, August 5, 2019.

g "Authorities Describe 1Confusion And Chaos' At Borderline Bar Shooting In Califomia,11 NPR, November 28, 2018.

h "Suspect in quadruple killing at car wash dies," CNN, January 30, 2018.

 i "California gunman fired 30 rounds at elementary school, left when he couldn't get inside, 11 ABC News, November 15, 2017.

j '"Be quiet! lt1s him!' Survivors say shooter walked pew by pew looking for people to shoot, 11 CNN, November 9, 2017.

k "Sheriff Says More than 1,100 Rounds Fired in Las Vegas," Las Vegas Review Journal, November 22, 2017

 1 "Fort Lauderdale Shooting Suspect Appears in Court, Ordered Held Without Bond," Washington Post, January 9, 2017.

m "'We Thought It Was Part of the Music': How the Pulse Nightclub Massacre Unfolded in Orlando," The Telegraph, June 13, 2016.

" "Two men charged with homicide in connection with Wilkinsburg backyard ambush, 11 Pittsburgh's Action News, June 24, 2016.

0   "San Bernardino Suspects Left Trail of Clues, but No Clear Motive," New York Times, December 3, 2015.

P "Sheriff: Elliot Rodger Fired SO-plus Times in Isle Vista Rampage," Los Angeles Times, June 4, 2014.

q "Shooter Set $10,000 on Fire in Hialeah Shooting Rampage," NBC News, July 28, 2013.

r "Police Call Santa Monica Gunman 1Ready for Battle, 111 New York Times, June 8, 2013.

5 "Questions linger in slayings; investigation continues in rampage as community searches for answers on why gunman shot eight people," The Beacon Journal, August 14, 2011.


 1 "Kentucky Tragedy: Man Kills Wife, Five Others, in Rampage Over Cold Eggs, Say Cops," CBS News , September 13, 2010.

u "Ex-gang member guilty of shooting 5 in deadly 17-second rampage," NBC, April 1, 2011.

v "Hialeah Gunman's Rage Over Estranged Wife Leaved 5 Dead," Sun-Sentinel, June 7, 2010.

w "Man convicted of killing 4 at Los Angeles restaurant," Associated Press, March 15, 2016.

x "4 Victims In Mount Airy Shooting Related, Police Say, 11 WX/112 News, November 2, 2009.

Y "Arrested suspect might have warned of Santa Maria shooting", Associated Press, March 20, 2008.

z "Profile: New information released on Matthew Murray, gunman in church-related shootings in Colorado~ Larry Bourbannais, wounded in one of the shootings, discusses his experience, 11 NBC News, December 11

                                                                                                Page9 of!0




                                                                                                                                                             A1E~IB I A'.Uet\4 of 45
                                                                                                                                                                    to M~all D,fc).aration
                                                                                                                                                           USDC Case No . !'.llg.w-~~I 5-IM
                              Case 2:22-cv-01815-IM                                    Document 17-1                     Filed 11/30/22                    Page 45 of 45




                                                                                       Exhibit B
                                                                               Public Mass Shootings Data
                                                                                  1982 - October 2022
                                                                                                                    Large                                   Total                 Gun(s)     Offender(s)'
                                                                                                                   Capacity                              Fatalities &   Shots    Obtained    Number of
                      Case                               Location              Date               Source            Mag.?'      Fatalitiel   Injuriesc    lnjuriesc     Firedd   Legally?°      Guns

                        (1)                                 (2)                  (3)                 (4)              (5)           (6)          (7)         (8)         (9)       (10)          (11)


aa "Small Town Grieves for 6, and the Killer," Los Angeles Times, October 9, 2007.

ab "National Briefing I Midwest: Ohio: Shooter At Club May Have Reloaded,11 New York Times, January 15, 2005.

ac "Sixth person dies of injuries from shooting at Kansas meatpacking plant/ Associated Press, July 3, 2004.

ad "Four Killed In Oldtown Shooting," The Miner, October 30, 2003.

ae "Sacramento shooter unscathed before killing self, autopsy shows," Associated Press , September 14, 2001 .

af "Gunman kills 3, wounds 4 in Rifle rampage~ mental patient is arrested," The Denver Post, April 2, 2015.

ag "Unfinished business," Dateline NBC, December 21, 2006.

ah "5 Beach Workers in Florida are Slain by Ex-Colleague/ New York Times, February 10, 1996.

ai "Man Bent On Revenge Kills 4, Hurts 23 -- Psychiatrist ls First Slain In Rampage At Fairchild Air Force Base/ The Seattle Times, June 21, 1994.

aj "Man Killed Estranged Wife, Three Others as They Drove to Dinner, 11 Associated Press, November 11 , 1991 .

ak "6 Dead in Florida Sniper Siege~ Police Seize Suspect in Massacre," Chicago Tribune , April 25, 1987.




                                                                                                Page 10 of!0




                                                                                                                                                           A1E~IB I A'.Uet\5 of 45
                                                                                                                                                                  to M~all D.f,;!al"ation
                                                                                                                                                         USDC Case No . !'.1lg_w-~1,t15-IM
